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  7
  8                       UNITED STATES DISTRICT COURT
  9                      SOUTHERN DISTRICT OF CALIFORNIA
 10
 11   UNITED STATES OF AMERICA,                        CASE NO. 99cr2080 BTM
                                                                99cr2147 BTM
 12                                      Plaintiff,             00cr0352 BTM
                                                                01cr0796 BTM
 13         v.                                                  01cr1415 BTM
 14                                                    ORDER GRANTING IN PART AND
                                                       DENYING IN PART EX PARTE
 15                                                    APPLICATION FOR ORDER
      IRA ITSKOWITZ (1),                               CORRECTING RESTITUTION
 16   DANIEL WILLIAM REARICK (2),                      PORTION OF JUDGMENTS
      MICHAEL ERMERSON LOPUSZYNSKI (3)
 17   JOSEPH JOHN WIDMER (7)                           (Criminal Case No. 99cr2080 BTM)
      JAMES CHARLES QUINN SLATON (8)
 18   MARK VICTOR NACHAMKIN (9)
      PAUL EVAN PERELMAN (10), and
 19   MICHAEL WILHELM ENGELHARDT (16),
 20                               Defendants.
 21
      UNITED STATES OF AMERICA,
 22                                                    (Criminal Case No. 99cr2147 BTM)
                                         Plaintiff,
 23
           v.
 24
      IRA ITSKOWITZ (1)
 25   DANIEL WILLIAM REARICK (2), and
      MICHAEL EMERSON LOPUSZYNSKI (3),
 26
                                  Defendants.
 27
 28


                                                 1             99cr2080, 99cr2147, 00cr0352, 00cr0796, 01cr1415
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  1
       UNITED STATES OF AMERICA,
  2                                                     (Criminal Case No. 99cr0352 BTM)
                                          Plaintiff,
  3
             v.
  4
       LINDSAY WELLMAN,
  5
                                      Defendant.
  6
  7
       UNITED STATES OF AMERICA,
  8                                                     (Criminal Case No. 01cr0796 BTM)
                                          Plaintiff,
  9
             v.
 10
       TIMOTHY DAVID GRAYSON,
 11
                                      Defendant.
 12
 13    UNITED STATES OF AMERICA,

 14                                       Plaintiff,    (Criminal Case No. 01cr1415 BTM)

 15          v.

 16    MARC DAVID LEVINE (1),
       JONATHAN EDWARD SHOUCAIR (2),
 17    ROBERT TERRANCE HART (5),
       EUGENE DONALD EVANGELIST, JR. (7)
 18    KENT BOLLENBACH (8),
       BRENT DOUGLAS MORRIS (9)J
 19    JOSEPH ANTHONY MARFOGLIA (11),
       SYLVAN MORGAN METOYER, III (12),
 20    DAVID ZEIDEL DIAMAND (14),
       JAMES THOMAS RISSMILLER (15),
 21    ANDREW MATTHEW CASTRIOTTA (16),
       MARK ALLEN JACONSKI (17), and
 22    RICHARD YORK (20),

 23                                  Defendants.

 24
 25         The United States has filed an Ex Parte Application for Order Correcting the

 26   Restitution Portion of Judgments. For the reasons discussed below, the United States’

 27   motion is GRANTED IN PART and DENIED IN PART.

 28


                                                  2             99cr2080, 99cr2147, 00cr0352, 00cr0796, 01cr1415
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  1                                        I. BACKGROUND
  2          During the period between July 20, 1999 and January 24, 2003, the defendants in
  3   these related cases were convicted of various charges arising out of a telemarketing
  4   organization, described as “The Enterprise” in charging instruments. The Enterprise, which
  5   marketed a series of “high-tech” telecommunications-related securities, defrauded thousands
  6   of victims of $49,050,378.
  7          Between July 13, 2001 and June 24, 2007, the Court sentenced the defendants. As
  8   to each of the above-captioned defendants, the Court ordered restitution to be paid to the
  9   victim investors. The government identified the victims by investment offering in stipulations
 10   or declarations that were attached to the individual defendants’ judgments.
 11          The Clerk’s Office has collected slightly over $500,000 in restitution but has been
 12   unable to disburse the money due to unresolved issues regarding the proper allocation of
 13   these funds. According to the Clerk’s Office, the primary reason it has been unable to
 14   disburse restitution to the victims is because, for most of the defendants, the amount of
 15   restitution ordered on the Judgment and Commitment does not match the amount of victims’
 16   losses specified on the attachment to the Judgment.
 17
 18                                         II. DISCUSSION
 19          The United States seeks to clarify how the restitution should be allocated by amending
 20   the final judgments. As discussed below, although the Court will clarify how the Clerk’s office
 21   should disburse recovered restitution, the Court declines to adopt the United States’
 22   suggested method for doing so.
 23          A court has “very broad discretion in setting the terms of the restitution order.” United
 24   States v. Padgett, 892 F.2d 445, 449 (6th Cir. 1989). Here, the Court’s use of broad
 25   discretion is especially justified given the complexity of the case.                  Cf. 18 U.S.C. §
 26   3663A(c)(3)(A) (providing that a court need not even order restitution if “the number of
 27   identifiable victims is so large as to make restitution impracticable.”)
 28


                                                      3             99cr2080, 99cr2147, 00cr0352, 00cr0796, 01cr1415
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  1          The United States proposes that for each defendant, the Clerk’s office allocate any
  2   payment by that defendant to the specific offerings that defendant participated in, using
  3   percentages specified in the government’s Exhibit A. For each “offerings pot,” the Clerk’s
  4   office would then consult a list of victims for that offering and disburse the funds accordingly.
  5          The United States’ proposal is impractical given that there are 23 defendants who
  6   have been ordered to pay restitution, 12 different schemes, and 2,403 identified victims.
  7   Under the government’s proposed method, to disburse the amount on hand, the Clerk’s
  8   Office would have to issue close to 30,000 checks. This number is more than double the
  9   total number of checks the Clerk’s Office processed for all of fiscal year 2008 (during which
 10   14,726 checks were issued). The relatively small amount of the recovery (approximately 1%
 11   of the total loss) does not justify the labor and expense of this undertaking.
 12          Instead, the Court directs the use of a simpler and more efficient way of disbursing the
 13   funds. Under the Court’s system, all of the restitution amounts recovered from the various
 14   defendants shall be treated as one fund of money that will be divided among all of the
 15   identified victims who can be located. If a victim cannot be located, what would have been
 16   his or her share, shall be included in the fund for distribution to the other victims. Attached
 17   to this Order is Exhibit A, which lists the amount of each victim’s total loss. Based on this
 18   information, the Clerk’s office shall calculate, for each victim, the percentage of his or her
 19   loss of the amount that equals the total loss caused by the Enterprise minus the loss suffered
 20   by unidentified victims and victims who cannot be located. These percentages shall be used
 21   to determine each victim’s pro rata share of the recovered funds.
 22          Previously, $24,900.78 was disbursed among defendant Perelman’s 82 victims. The
 23   amounts already received by Perelman’s victims shall be credited against any amounts that
 24   they are owed in connection with the initial distribution of the restitution funds and any future
 25   distributions.   Perelman’s victims shall not receive any payment in connection with a
 26   distribution of restitution funds if their calculated pro rata share is equal to or less than the
 27   amount they have already received.
 28          Although this system is not perfect, it provides clarity and will facilitate payment to the


                                                      4             99cr2080, 99cr2147, 00cr0352, 00cr0796, 01cr1415
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  1   victims. The amount that each defendant must pay in restitution and the amount of
  2   restitution that each victim is due remains unchanged. The victims still have a judgment
  3   against the defendant(s) liable to them until they are paid in full. Any differences between
  4   the government’s proposed method and the Court’s method with respect to the order of
  5   recovery, the precise allocation of the amounts, and/or the amounts of individual recovery
  6   are insignificant given that only 1% of the total loss has been recovered thus far. The
  7   likelihood of recovering even 3% of the total loss is slim. Thus, the desirability of creating the
  8   perfect system as if full restitution were possible is outweighed by the cost, inefficiency, and
  9   complexity of such an undertaking. Furthermore, the Court’s method is equitable given that
 10   the enterprise was an evolving conspiracy - earlier offerings paved the way for later ones,
 11   and defendants who became involved in the Enterprise later in the game benefitted from the
 12   suffering of victims of the Enterprise’s entire course of fraud.
 13            The United States requests that the Court amend the judgments to recite that each
 14   defendant is jointly and severally liable with any other defendant in the related cases who
 15   was ordered to pay restitution for the same loss. The Court denies this request without
 16   prejudice. Joint and several liability is simply not at issue in light of the fact that only 1% of
 17   the loss has been recovered. There is no imminent danger that any victim will receive more
 18   than he or she is due. No defendant has moved to modify his judgment. If any defendant
 19   makes such an application, the Court will consider it at that time.
 20            After the initial distribution, distribution of restitution funds shall take place every two
 21   years.
 22            Pursuant to 18 U.S.C. § 3612(f)(3)(A), the Court waives the requirement that the
 23   defendants pay interest on the restitution because the defendants do not have the ability to
 24   pay such interest.
 25
 26                                               III. NOTICE
 27            The Clerk’s Office shall notify the victims of the Court’s proposed clarification
 28   regarding the disbursement of recovered restitution. The notice shall include a copy of this


                                                         5             99cr2080, 99cr2147, 00cr0352, 00cr0796, 01cr1415
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  1   Order and shall inform the victims that they have 60 days from the date of the letter to object
  2   to the Court’s proposal. The Clerk’s Office shall also publish a legal notice in the San Diego
  3   Union Tribune, once a week for three weeks.
  4          The Court will order the distribution to be made 30 days after the resolution of any
  5   objections.
  6
  7   DATED: February 2, 2010
  8
  9                                                Honorable Barry Ted Moskowitz
                                                   United States District Judge
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                                                     6             99cr2080, 99cr2147, 00cr0352, 00cr0796, 01cr1415
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 10                                 EXHIBIT A
 11
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 14
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                                                7             99cr2080, 99cr2147, 00cr0352, 00cr0796, 01cr1415
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                           Victim Restitution List
      Criminal Case Nos. 99CR2080-BTM, 99CR2147-BTM, 00CR0352-BTM,
                     01CR0796-BTM, and 01CR1415-BTM
                                  (Sorted by Victim)


Row    Victim's Name                                                     Loss Amount
 1     A & E Enterprises                                               $       10,000
 2     Aaron, Joseph Thomas                                                    10,000
 3     Abbott, David                                                            5,000
 4     Abegg, Dean M.                                                          10,000
 5     Adam, James D.                                                          10,000
 6     Adams Security                                                          10,000
 7     Adams, Douglas M.                                                       90,000
 8     Adams, Manley                                                           15,000
 9     Adams, Ruth                                                             10,000
10     Addis, Thomas E.                                                        10,000
11     Aguiar, Susan                                                           10,000
12     Aguilera Jr., Rick A.                                                   10,000
13                                                                             15,000
       Aken, Rita (c/o Aken Financial Network and Rita Fruscal
       Zo-Aken)
14     Alburger Jr., James R.                                                    29,900
15     Alderman MD, Henry R.                                                    165,000
16     Aldwell, Marie                                                            70,000
17     Alfieri, Peter & Judith                                                   15,000
18     Alfred, Nilsson                                                           10,000
19     Al-Karim Inc.                                                             10,000
20     Allemand, Donald R.                                                       10,000
21     Allen, Affred E.                                                           5,000
22     Allen, David V. & Linda S.                                                25,000
23     Allen, Jack                                                                5,000
24     Allen, Leon                                                                5,000
25     Allione, Arthur                                                           20,000
26     Allison, Jacqueline E.                                                    10,000
27     Allison, Robert J.                                                        10,000
28     Allman, Darrell D.                                                        10,000
29     Allphin, Ralph E.                                                         10,000
30     Alotis, James                                                             10,000
31     Alpaugh, Lois                                                             15,000


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                         Victim Restitution List
      Criminal Case Nos. 99CR2080-BTM, 99CR2147-BTM, 00CR0352-BTM,
                     01CR0796-BTM, and 01CR1415-BTM
                                (Sorted by Victim)


Row    Victim's Name                                                        Loss Amount
32     Alvord, Richard Drewe                                                      10,000
33     Alwart, Miggi T.                                                           15,000
34     Ambroise, Joseph                                                           15,000
35     Amin, Kirit                                                                 5,000
36     Amundson, Roger D.                                                         10,000
37     Anderson MD and PA, G. Lynn                                                20,000
38     Anderson, Carolyn                                                          10,000
39     Anderson, Dorthell                                                          5,000
40     Anderson, Elmore G.                                                        25,000
41     Anderson, Mary V.                                                          20,000
42     Anderson, Otto & Connie                                                    95,000
43     Anderson, Kelvin M.                                                         5,000
44     Anderton, David J.                                                         10,000
45     Andrew, Bennett Edward                                                     10,000
46     Andrews, Arthur                                                            10,000
47     Andrews, Dana B.                                                           10,000
48     Andrews, Nathalia                                                          30,000
49     Andrews, Sandra                                                             5,000
50     Anduss, Craigg A.                                                          20,000
51     Ange, Cora & Clifton                                                       10,000
52     Angel, Larry                                                               10,000
53     Angelle, Tara                                                              50,000
54     Ansell, Robert G.                                                          30,000
55     Antoni, Sherry                                                             10,000
56     Appiah, Aaron P.                                                           40,000
57     Armington, Albert A.                                                       15,000
58     Armstead, James                                                             5,000
59     Arnett, Leroy                                                              10,000
60     Arnold, Eugene C.                                                          10,000
61     Art, John B.                                                               40,000
62     Ashworth, Gladys E.                                                        95,000
63     Askew, Viola                                                               50,000


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                           Victim Restitution List
      Criminal Case Nos. 99CR2080-BTM, 99CR2147-BTM, 00CR0352-BTM,
                     01CR0796-BTM, and 01CR1415-BTM
                                  (Sorted by Victim)


Row    Victim's Name                                                      Loss Amount
 64    Atef - Vahid, Hassan                                                     10,000
 65    Atencio, Alonzo C.                                                       20,000
 66    Atkins, Curtis J.                                                        25,000
 67    Atwell, Greg                                                             25,000
 68    Augustus, Carl Trent                                                      5,000
 69    Austin, Virginia                                                         10,000
 70    Automatic Equipment Co.                                                  45,000
 71    Ayler, Marion V.                                                         30,000
 72    Azan, Barbara                                                            10,000
 73    Azzarelli, Sam                                                           10,000
 74    Babaian, Robert                                                          50,000
 75    Bader, Allen                                                             10,000
 76    Badley, Robert & Cheryl                                                  10,000
 77    Baffer, Norman B.                                                         5,000
 78    Bahrke, Walter                                                           20,000
 79    Bailey (Living Trust Account)                                            30,000
 80    Bailey, Earl S. & Joan                                                   65,000
 81    Bailey, Janice                                                           10,000
 82    Bailey,
            y Edna ((or John Rodgers)
                                g )                                            145,000
 83    Bain, Joy R.                                                             30,000
 84    Baird, Paul E.                                                           20,000
 85    Baird, Tim                                                               30,000
 86    Baker, Arthur                                                            10,000
 87    Baker, Christopher J.                                                    15,000
 88    Baker, Susan                                                             10,000
 89    Bakker, Barbara V.                                                       60,000
 90    Balbach, Kenneth & Julia                                                 30,000
 91    Balduyek, Michael                                                        10,000
 92    Baldwin, Mary Lou                                                        20,000
 93    Balgaard, Stanley & Cheryl                                               10,000
 94    Ball, Margaret                                                           10,000
 95    Balliet, Kenneth W.                                                      15,000


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                           Victim Restitution List
      Criminal Case Nos. 99CR2080-BTM, 99CR2147-BTM, 00CR0352-BTM,
                     01CR0796-BTM, and 01CR1415-BTM
                                  (Sorted by Victim)


Row    Victim's Name                                                      Loss Amount
 96    Baltierrez, Robert C.                                                    20,000
 97    Bamberger, Hanna                                                         30,000
 98    Bandyopadhyay, Karuna                                                    10,000
 99    Banerjee, Asok & Maya                                                    20,000
100    Barbee, James                                                            10,000
101    Barbey, Deborah & Henry                                                  10,000
102    Barkley, Michelle A. & Jeffrey A.                                        10,000
103    Barner, John V.                                                          10,000
104    Barnes, James D.                                                         10,000
105    Barnett, Arthur                                                          85,000
106    Barnett, John David                                                      20,000
107    Barnhart, Kenneth                                                        10,000
108    Barothy, Mary Anne                                                      155,000
109    Barrett, Demona & Verle                                                  10,000
110    Barter, Mary                                                             20,000
111    Barter, Ray                                                              40,000
112    Bartkowski, James                                                        10,000
113    Bartlett, Frank                                                          10,000
114    Bartlett, Richard                                                        10,000
115    Barton, Frank W.                                                         30,000
116    Bassett, Raymond K.                                                      10,000
117    Bastian PE, John K.                                                      45,000
118    Battaglia, Emil                                                          10,000
119    Batten, Claude                                                           20,000
120    Baty, Vernevelyn                                                         10,000
121    Bauer, John                                                              10,000
122    Bauman, Thomas & Mary Ann                                                10,000
123    Baumann, Richard E.                                                      25,000
124    Baxter, Arnold & Leisbeni                                                 5,000
125    Beachenow, Leo L.                                                        20,000
126    Bean, Phil                                                               10,000
127    Beard - Tittone, Kelly                                                   10,000


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                          Victim Restitution List
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                     01CR0796-BTM, and 01CR1415-BTM
                                  (Sorted by Victim)


Row    Victim's Name                                                      Loss Amount
128    Beasley, John E.                                                         10,000
129    Beason, Austin                                                          290,000
130    Beck, Donna & Harold                                                     20,000
131    Beck, Genevieve S.                                                       20,000
132    Beckman, Cord                                                            10,000
133    Bednar, Thomas D. & Tami J.                                              40,000
134    Behm, Gary                                                                5,000
135    Belden, David                                                             5,000
136    Belisle, Otis & Irene                                                    10,000
137    Bell - Williams, Lilah Consuelo                                          10,000
138    Bell, John                                                               15,000
139    Bender Jr., John H. & Elizabeth                                          25,000
140    Bender, Carolyn J.                                                        5,000
141    Bender, Victor & Dorothy L.                                              10,000
142    Benepe III, James L.                                                     50,000
143    Benham, Stephen & Carolyn                                                10,000
144    Benjamin, Eugene F.                                                      10,000
145    Benjamin, Jean                                                           10,000
146    Bennett, Richard D.                                                       5,000
147    Bennett, Steven                                                          10,000
148    Bentley, John H.                                                         35,000
149    Benzio, Benjamin & Donna                                                 10,000
150    Beresky, Charles & Jean                                                  15,000
151    Berge, George & Lois                                                      5,000
152    Bergeman, Donald & Marlys                                                 5,000
153    Berger, A. Chris                                                         20,000
154    Berger, James & Idyll R.                                                 10,000
155    Bergquist, Harold B. (Trustee)                                           20,000
156    Bernard, William N.                                                      20,000
157    Bernat, Richard R. (Trustee)                                              5,000
158    Bernreuter, Charles                                                      20,000
159    Bernthal, Hildred W. & Shirley M.                                        20,000


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      Criminal Case Nos. 99CR2080-BTM, 99CR2147-BTM, 00CR0352-BTM,
                     01CR0796-BTM, and 01CR1415-BTM
                                 (Sorted by Victim)


Row    Victim's Name                                                     Loss Amount
160    Berreth, Lee Louis                                                      10,000
161    Berry, Clifford P.                                                      20,000
162    Berry, John & Patricia                                                  20,000
163    Bertholf, Sumiko                                                        10,000
164    Beshears Jr., Walter                                                    15,000
165    Betts, Charles J.                                                       10,000
166    Betts, Rex & Buelah                                                     10,000
167    Beynon, Kenneth A.                                                      20,000
168    Bezich, Thomas                                                          25,000
169    Bibler, Ronald C.                                                       10,000
170    Bickel, R. Wayne                                                        10,000
171    Biedenharn, Clifford                                                    45,000
172    Biggs, Frankie                                                         160,000
173    Bil - Mont Construction                                                 10,000
174    Biller, Conrad L.                                                       10,000
175    Bishop, Quentin M.                                                      20,000
176    Bizzell, Billie L.                                                      10,000
177    Black, Charles E.                                                       10,000
178    Blair, Sean                                                             10,000
179    Blancato, Angelo S. & Gerduren                                          30,000
180    Bland, Elizabeth P.                                                     20,000
181    Blank, Barry G. & Helene B.                                             40,000
182    Blankenship, Verda                                                       5,000
183    Blase, Gilbert                                                          10,000
184    Bleazard, Craig & Kristy                                                20,000
185    Blevins Jr., Bruce                                                      10,000
186    Blevins, Bruce & Mary                                                   20,000
187    Blickendorf, Carl & Heather                                             25,000
188    Blizzard, Phillip & Martha                                              25,000
189    Blount, Eldon                                                           10,000
190    Blum Jr., Fred G.                                                       10,000
191    Bodnar, Theodore F. & Martha                                            20,000


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                          Victim Restitution List
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                     01CR0796-BTM, and 01CR1415-BTM
                                 (Sorted by Victim)


Row    Victim's Name                                                     Loss Amount
192    Boehnen, Gary A.                                                        10,000
193    Boes II, Albert J.                                                      20,000
194    Boetticher, Edwin Cleary                                                45,000
195    Bogenreif, Kathleen P.                                                  30,000
196    Boggs, Harriet                                                          10,000
197    Boguslawski, John                                                       20,000
198    Boling, Eric C.                                                         10,000
199    Boll, DeVillo M. & Marilyn                                              10,000
200    Boll, DeVillo Morton                                                    15,000
201    Bolma, Merle                                                            10,000
202    Bolt MD, Robert O.                                                      40,000
203    Bonar, Amos                                                             10,000
204    Bonino, Rosalind                                                        10,000
205    Bonitz, Sylvia M.                                                       40,000
206    Bonn, Mark & Judith                                                     10,000
207    Boone, Jerome                                                           15,000
208    Boone-Levine, Carol                                                     50,000
209    Borrowman, James                                                         5,000
210    Borton, Garyy A. & Carol C.                                             20,000
211    Boryn, Edward                                                           10,000
212    Bossert Jr., Willard Max                                                40,000
213    Bourland, Patricia W.                                                   40,000
214    Bousek, Mary Jo                                                         90,000
215    Bowen, Max R. & Madeline T.                                             30,000
216    Bower, Jack & Irma                                                      25,000
217    Bower, Richard                                                          10,000
218    Bowerman, Edwin H.                                                      10,000
219    Bowers, Gary W.                                                         10,000
220    Bowes, Martin A.                                                        10,000
221    Bowles, Bill & Donna                                                    10,000
222    Bowman, Gae K.                                                          50,000
223    Bowman, Lillie Belle                                                    35,000


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                          Victim Restitution List
      Criminal Case Nos. 99CR2080-BTM, 99CR2147-BTM, 00CR0352-BTM,
                     01CR0796-BTM, and 01CR1415-BTM
                                  (Sorted by Victim)


Row    Victim's Name                                                      Loss Amount
224    Bowman, R.l. Naff & Rebecca J.                                           10,000
225    Boyd-Vega, Marjory L.                                                     5,000
226    Boyton, William J.                                                       10,000
227    Bracewell, Margaret W.                                                   10,000
228    Bradford, Robert D.                                                      20,000
229    Bradley, Barbara                                                         20,000
230    Bradley, Floyd & Pearl                                                   25,000
231    Brand, Valerie G.                                                        20,000
232    Brandt, Robert                                                           10,000
233    Branion, Joseph & Marilyn                                                30,000
234    Brar, Ajit Singh & Saroj                                                 20,000
235    Brass, Roy                                                               35,000
236    Braswell & Lamm Investment                                               10,000
237    Brawley, John & Patricia                                                 10,000
238    Brazelton, James E.                                                      25,000
239    Brennan, Robert J.                                                       10,000
240    Breuhan, Glenn & Mary Jane                                               15,000
241    Brewer, Kennie                                                            5,000
242    Brickner, Robert L. & Linda L.                                           25,000
243    Brickner, Ronald J. & Marilyn K.                                         10,000
244    Brisson, Frances D.                                                      10,000
245    Britting, Alfred O.                                                      10,000
246    Brock, Scott                                                             10,000
247    Broidy, James                                                             5,000
248    Brooks, Gary M. & Kate S.                                                10,000
249    Brosseau, Helen S.                                                       20,000
250    Brosterhous, George & Audrey L.                                           5,000
251    Brosterhous, Greg & Susan L.                                              5,000
252    Brougmann, David                                                         10,000
253    Brovald, David C. & Deborah                                              25,000
254    Brown, B.                                                                15,000
255    Brown, Christopher N.                                                    10,000


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                                  (Sorted by Victim)


Row    Victim's Name                                                      Loss Amount
256    Brown, Daniel & Linda                                                    20,000
257    Brown, Edward L.                                                         10,000
258    Brown, Gary W.                                                            9,912
259    Brown, Robert                                                            20,000
260    Brown, Scot                                                              10,000
261    Brown, William                                                           10,000
262    Browne, Morry & Wanda                                                    25,000
263    Browning, Willie M.                                                      30,000
264    Brubaker, Robert G.                                                      10,000
265    Bruce, Roger                                                             10,000
266    Brumagen-Atwell, Anita                                                   10,000
267    Brunsting, Steve                                                         20,000
268    Bryant, Patrick                                                           5,000
269    Brzezinski, Amber & Ryan                                                  7,500
270    Bucek, Roy E.                                                            40,000
271    Budrow, (first name unknown)                                             10,000
272    Buehrig, Kathryn L.                                                      60,000
273    Bullard, Raymond L.                                                      10,000
274    Bullmer, Carole                                                          30,000
275    Bullough, Bruce L.                                                       30,000
276    Burg, Margaret                                                            5,000
277    Burgess, Jerry C.                                                       110,000
278    Burgess, Kenneth                                                         10,000
279    Burleson, Robert F. & Phyllis                                            20,000
280    Burnell, Herbert H.                                                      20,000
281    Burnett, Mary Parham                                                     10,000
282    Burns Jr., Samuel S.                                                     10,000
283    Burton, Cleopatra                                                        20,000
284    Burton, R. Kevin & Rebecca A.                                            30,000
285    Bush, David R.                                                            2,360
286    Bush, George E.                                                          25,000
287    Bussinger, Martina Barbara & Scott D.                                     5,000


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                     01CR0796-BTM, and 01CR1415-BTM
                                 (Sorted by Victim)


Row    Victim's Name                                                     Loss Amount
288    Butler, John & Nate                                                     10,000
289    Butz, Dennis & Hiroko                                                   20,000
290    Byfield, Claude N.                                                      40,000
291    Byrd, Vivian & Arthur                                                   45,000
292    Café Coffee Service                                                     20,000
293    Caird, Timothy P.                                                       10,000
294    Calcagno, Nicholas                                                      10,000
295    Calhoun, David L.                                                       10,000
296    Calhoun, Robert                                                         10,000
297    Call, Everard & Beth                                                    40,000
298    Callanan, James & Marion (Trust Account)                                10,000
299    Callender, Jeffrey                                                      15,000
300    Camarata, Anthony C.                                                    40,000
301    Cameron, David T.                                                       10,000
302    Campbell (first name unknown)                                           10,000
303    Campbell, Bruce C.                                                      10,000
304    Campbell, Eileen                                                        20,000
305    Campbell, Pleas & Katie                                                 20,000
306    Campbell,
            p     Robert                                                        5,000
307    Campisi, Gale Cannan                                                    30,000
308    Campo, Mark D. & Gina                                                   10,000
309    Canavan, Edmond J.                                                      10,000
310    Card, Stuart W.                                                          5,000
311    Cardillo, Harry F.                                                      10,000
312    Carlson, Daniel & Catherine                                             20,000
313    Carlson, Gale                                                           10,000
314    Carlson, John D.                                                        20,000
315    Carlson, Reuben & Elaine                                                20,000
316    Carlson, Hazel (Family Trust Account)                                   30,000
317    Carlstadt, Ann Dunn                                                     15,000
318    Carmon, Terry                                                           20,000
319    Carolina Maids Inc.                                                     10,000


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                     01CR0796-BTM, and 01CR1415-BTM
                                 (Sorted by Victim)


Row    Victim's Name                                                     Loss Amount
320    Caron, John Louis                                                        6,000
321    Carow, John                                                              4,000
322    Carpenter, Carl                                                         10,000
323    Carpenter, Charles S.                                                    5,000
324    Carr, Sara                                                              10,000
325    Carter, Agnes                                                           75,000
326    Carter, Edward                                                          10,000
327    Carter, John & Maria                                                    20,000
328    Carter, Jonathan                                                        10,000
329    Cartwright, Cecil & Esther                                              30,000
330    Carville, Kimberly & Chester                                            10,000
331    Casey Jr., Earl W.                                                      10,000
332    Casey, George C.                                                        10,000
333    Cash, Daniel                                                             5,000
334    CASZ LLC (c/o Casimer I. Zaremba)                                       10,000
335    Catchur, Helen                                                          10,000
336    Cates, Harold                                                           10,000
337    CenterSource LifeSystems                                                10,000
338    Cermak, Richard Otto & Susan M.                                         20,000
339    Chall, Ezra                                                             10,000
340    Chamness, John Wesley                                                   10,000
341    Chamness, Linda D.                                                      10,000
342    Champney-Bruso, Vicki L. (& Gladys Stanley)                              5,000
343    Chan, Kai Hong                                                          10,000
344    Chandler, Mildred (& Wilma Armstrong)                                    5,000
345    Chang, Isabelle C.                                                      10,000
346    Chang, Soloman S.                                                       10,000
347    Chapman, Mary N.                                                        15,000
348    Charles, Don F.                                                         10,000
349    Charron, Bev                                                            25,000
350    Checkal, Patricia A.                                                    30,000
351    Checkal, Patricia A. (& Jeanne A. Ellison)                              25,000


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                     01CR0796-BTM, and 01CR1415-BTM
                                    (Sorted by Victim)


Row    Victim's Name                                                        Loss Amount
352    Cheney, Dale                                                               35,000
353    Chester, Donna                                                             10,000
354    Chiachiaro, Emanuel                                                        10,000
355    Chinn, Harry                                                               20,000
356    Chipman, Stan                                                              15,000
357    Chisholm, William                                                           5,000
358    Chiu, Paul                                                                 10,000
359    Chmielewski, John L.                                                       25,000
360    Cholger, Herbert W.                                                        30,000
361    Christensen, John L. & Jane                                                10,000
362    Christensen, Steve (c/o Christensen & Co.)                                 20,000
363    Christie, Thomas L.                                                        10,000
364    Christopher, King D.                                                       30,000
365    Christy, James Dean                                                        10,000
366    Chu, Kai Mong                                                              10,000
367    Ciallella, Albert J.                                                       20,000
368    Cills, Ronald                                                              20,000
369    Claeys, Worbert A. & Avis L.                                               10,000
370    Clark, Dale J.                                                             10,000
371    Clark, Ellen (Trustee)                                                     10,000
372    Clark, Erma                                                                15,000
373    Clark, Glenn                                                               75,000
374    Clark, Linda (or Eugene Martin or Valerie Reilly)                          10,000
375    Clark, Rick                                                               100,000
376    Clark, Robert                                                              10,000
377    Clarke, Audley                                                             10,000
378    Clarke, Phil J.                                                            10,000
379    Clarkson, Peter                                                            25,000
380    Clayton, John M.                                                           10,000
381    Clayton, Mark                                                              10,000
382    Cleaner Results Janitorial (c/o John Vasil or John Gibel)                  10,000
383    Clemens Jr., Ralph N.                                                      20,000


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                     01CR0796-BTM, and 01CR1415-BTM
                                  (Sorted by Victim)


Row    Victim's Name                                                      Loss Amount
384    Clemmer, Buford & Wanda M.                                               30,000
385    Clepper, Vince                                                           20,000
386    Clewley, James & Doris                                                   75,000
387    Cochran, Jonah                                                           10,000
388    Codute, Patrick & Helen                                                  25,000
389    Cogan, James P.                                                          10,000
390    Cohn, Steven C.                                                          10,000
391    Cohran, Donald                                                           20,000
392    Coicou, Mireille                                                         10,000
393    Colbert, Luanne R.                                                       20,000
394    Coldewey, Norman & Hilda                                                 35,000
395    Coleman, John J. & Frances                                               10,000
396    Coleman, Lois                                                            10,000
397    Collins, Darlene Velma                                                   50,000
398    Collins, James                                                           50,000
399    Colovin, Charles V. & Beatrice R.                                        10,000
400    Compofelice, Joseph & Susan                                               5,000
401    Cone, James                                                              10,000
402    Conference Tech Inc.                                                     12,500
403    Conine, Robert & Joan C.                                                  5,000
404    Conklin, Louanna                                                         10,000
405    Conover, Jevne R.                                                        30,000
406    Conroy, Victor                                                           10,000
407    ConstrucTech Inc.                                                        20,000
408    Continental Mechanical Inc.                                              50,000
409    Conway, Steve                                                            10,000
410    Cook, Elaine L.                                                           5,000
411    Cooley, Jeff (dba Dent Crafters)                                         10,000
412    Cooley, Jeffrey                                                          30,000
413    Coom, Joan P.                                                            30,000
414    Cooper, James                                                            15,000
415    Cooper, Ralph V.                                                          5,000


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                     01CR0796-BTM, and 01CR1415-BTM
                                  (Sorted by Victim)


Row    Victim's Name                                                      Loss Amount
416    Cooper, Sally                                                            15,000
417    Copley, Melvin & Graciela                                                10,000
418    Corbet, William W.                                                       50,000
419    Corbett, Clifton W. & Ruth B. (c/o Corbett Farms)                        30,000
420    Cormier, Archie                                                          30,000
421    Corrao Jr., John D.                                                      10,000
422    Corrick, William                                                          5,000
423    Cosgrove, Elizabeth G.                                                   10,000
424    Courtad, Dennis E.                                                       10,000
425    Covey, Joseph W.                                                         10,000
426    Cowan, Jay                                                                5,000
427    Cox III, Floyd                                                           15,000
428    Cox , John (c/o Cox Motor Co.)                                           15,000
429    Cox, (first name unknown)                                                 5,000
430    Cox, Donald                                                              10,000
431    Cox, Rosemond                                                            10,000
432    Cozza, Luis A.                                                           10,000
433    Cramp, Thelma                                                            10,000
434    Crawford, Bard S.                                                        10,000
435    Crawford, Bruce A.                                                       20,000
436    Crawford, Charles P.                                                     10,000
437    Crawford, Glenn                                                           5,000
438    Crawford, Hallie & Jean                                                  20,000
439    Crawford, James                                                          10,000
440    Crawford, Jim                                                             5,000
441    Crawford, Robert E.                                                      25,000
442    Crescent, John Bender                                                    10,000
443    Crittenden, Ricky & Stella                                               15,000
444    Crockett, Steven C.                                                      10,000
445    Cross, Barton L.                                                         10,000
446    Cross, Harold W. & Virginia (Trustee)                                    90,000
447    Cross, John & Linda                                                      40,000


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                     01CR0796-BTM, and 01CR1415-BTM
                                 (Sorted by Victim)


Row    Victim's Name                                                     Loss Amount
448    Cross, Milton                                                           75,000
449    Crouch, Joseph E.                                                       15,000
450    Crousore, William & Brenda                                              10,000
451    Croxton, William M.                                                     10,000
452    Cruz, Juan & Nenita                                                     10,000
453    Csonaki, Louie & Julianna                                              125,000
454    Cueva MD, Roberto A.                                                    20,000
455    Cummings, Pamela                                                         5,000
456    Cunneen, Richard                                                        10,000
457    Cunningham, John E.                                                     10,000
458    Curd, David C.                                                          30,000
459    Curms, Richard E.                                                       10,000
460    Curtis, John W.                                                         10,000
461    Cutler, Elwyn D.                                                        10,000
462    Cutro, Nick                                                             10,000
463    Cutter, Donald                                                          15,000
464    D.B.S. Communications                                                   10,000
465    DA Davidson & Co.                                                       20,000
466    Dackermann, Herbert & Eunice                                            10,000
467    Dacruz, Anthony R. & Helen H.                                           10,000
468    Daily, Herman                                                           10,000
469    Dale, James Ashleigh                                                    10,000
470    Dalton, Norlen Kerry                                                    10,000
471    Daly, John C.                                                            5,000
472    Damiani, Moses                                                          10,000
473    Daniels Jr., Andrew T.                                                  55,000
474    Darden, Charles A.                                                      20,000
475    Daveler, Gladys                                                         15,000
476    Davies, James M.                                                        10,000
477    Davies, John K.                                                        130,000
478    Davis, Anna                                                             20,000
479    Davis, Dorrilla                                                         10,000


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                     01CR0796-BTM, and 01CR1415-BTM
                                 (Sorted by Victim)


Row    Victim's Name                                                     Loss Amount
480    Davis, Gregory Z.                                                       10,000
481    Davis, Kathleen June                                                    30,000
482    Davis, Louis                                                            25,000
483    Davis, Patrick                                                          10,000
484    Davis, Warren S.                                                        10,000
485    Davis, William                                                          10,000
486    Dawson, John                                                            10,000
487    Day, Dallas Glenn & Beverly J.                                          10,000
488    Dean Designs Company Inc.                                               10,000
489    Decker, Marilyn B.                                                      15,000
490    DeFoe - Gallagher, Camille D.                                            5,000
491    DeFoe, Mary A.                                                          10,000
492    Deinzer, Margaret (Trust Account)                                        5,000
493    DeJong, John D.                                                         10,000
494    DeJonge, Paul and Barbara                                               20,000
495    DeKay, Rodman D.                                                        15,000
496    Delaney, Bobby K. & Mark                                                10,000
497    DeLonge, Frederic B.                                                    10,000
498    DeMarco, Anthonyy & Donna                                               10,000
499    DeMarco, Barbaranne                                                     10,000
500    Demuts, Edvins                                                          10,000
501    Denhardt, Kenneth C.                                                    10,000
502    Denman, John H. & Barbara M.                                            10,000
503    Denmark, W.T. & Sandra                                                  10,000
504    Dennison, Kenneth A.                                                    15,000
505    Denton, Richard A. (Trust Account)                                      10,000
506    Deol, Tarsem Singh & Pritam Kaur                                        10,000
507    Depner, Betty Lucille                                                   40,000
508    Depuy, Curtis                                                           10,000
509    DeRemer - Scott, Maynie Ann                                             30,000
510    Deschenes, Leo L.                                                       20,000
511    Desiena, Joyce                                                          60,000


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                     01CR0796-BTM, and 01CR1415-BTM
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Row    Victim's Name                                                     Loss Amount
512    Dettle, Robert E.                                                       25,000
513    Dever, George F.                                                        15,000
514    Devies, Lester Ralston (Family Trust Account)                           10,000
515    Devine, Donald W.                                                       60,000
516    Devlin, John A. & Carol                                                 10,000
517    DeYoung, James                                                          30,000
518    Dickens, Bonnie Ligon                                                  100,000
519    Dickens, Edward H.                                                      10,000
520    Dickstein, Richard                                                      10,000
521    Diehl, Steven W.                                                        10,000
522    Diffenderfer, Dennis                                                    20,000
523    Dill, Charles & Deborah                                                 10,000
524    Dillion, Robert L. & Dianne C.                                          25,000
525    Dillon, Michael & Donna                                                  7,000
526    Dintaman, Walter & Clara E.                                             20,000
527    Dissler, Sandra & Richard                                                5,000
528    Dissler, Sandra L.                                                       5,000
529    Dittner, Chris                                                          10,000
530    Divok, Jayy & Shirley
                           y                                                   25,000
531    Dobson Jr., Glenn E. & Cheryl A.                                        10,000
532    Dockum, Todd S.                                                         15,000
533    Doe, Jerry & Vicki                                                      10,000
534    Doherty, Cheryl Ann                                                     20,000
535    Dokum, John O. & Ted S.                                                 10,000
536    Dolliver, Gloria                                                        15,000
537    Domino, Robert & Christine (Family Trust Account)                      140,000
538    Donahue, James Melvin                                                   10,000
539    Donato, Christina J.                                                    10,000
540    Donelan, Lynn                                                           10,000
541    Donnelly, Robert A. & Sherry                                             5,000
542    Don's Garage & Texaco Service Center (c/o Don Sweat)                     5,000
543    Doolittle III, Roy W.                                                   10,000


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                     01CR0796-BTM, and 01CR1415-BTM
                                 (Sorted by Victim)


Row    Victim's Name                                                     Loss Amount
544    Dornbush, Herbert W.                                                    30,000
545    Dorse III, Stephen S.                                                   10,000
546    Dowell, Michael                                                          5,000
547    Drake Industrial Painting                                               10,000
548    Drzewicki, Joseph                                                       20,000
549    Dtrong, Thomas F.                                                       10,000
550    Duda, Alexander R.                                                      30,000
551    Duncan (& Donna M. Fitzgerald), Robert                                  10,000
552    Duncan, Rudolph A.                                                      10,000
553    Dunlap, Richard                                                         20,000
554    Dunn, Ann                                                               10,000
555    Dunn, Katherine                                                         20,000
556    Dunn, Robert                                                            10,000
557    Dupuy, Ruth L.                                                          40,000
558    Dyer, Matthew A.                                                         5,000
559    Dyle, John D.                                                            5,000
560    E., Richard                                                              9,915
561    Eady, Darren Bruce                                                      10,000
562    Eastmond, Ferdinand G.                                                  10,000
563    Easton, Daniel & Deborah C.                                             10,000
564    Easton, Debrorah C.                                                     10,000
565    Ebaugh, Richard Bruce                                                   10,000
566    Eberhard, Bruce M.                                                      20,000
567    Eckart, John A.                                                         10,000
568    Eckert, Geoffrey & Kathy                                                10,000
569    Eckl - Heard, Jill                                                      10,000
570    Edge, Thelma H.                                                         10,000
571    Edinger II, John                                                        25,000
572    Edmaiston Jr., Bobby J.                                                 25,000
573    Edwards, Jack L.                                                        10,000
574    Edwards, Jerry W. & Glena L. (Living Trust Account)                      5,000
575    Edwards, Kenneth                                                        15,000


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                     01CR0796-BTM, and 01CR1415-BTM
                                 (Sorted by Victim)


Row    Victim's Name                                                     Loss Amount
576    Edwardson, John                                                         10,000
577    Eggebraaten, Bradley D.                                                 15,000
578    Eggerling, Douglas & Louise                                             20,000
579    Eichenberger, Eugene & Judy M.                                          50,000
580    Eilers, Ronald                                                          10,000
581    Einstein, Ahuva                                                         25,000
582    Einzinger, Dwight                                                       10,000
583    Eiseman, Jeffrey W.                                                     10,000
584    Eisenberg MD, Sheldon & Mary                                            40,000
585    Eisner, Lucille                                                         20,000
586    Eldridge, Russell & JoAnne                                              20,000
587    Elerding, Claude Henry                                                  10,000
588    Elibinger, Bernard and Elanor                                           10,000
589    Elkins, Robert                                                           5,000
590    Elliott, Sheryl A.                                                      10,000
591    Elliott, Virginia                                                       35,000
592    Ellison, Kenny & Julie                                                  30,000
593    Elmore Jr., William M.                                                  10,000
594    Elmore Jr., Richard                                                     10,000
595    Elmore, Floyd S.                                                        10,000
596    Emenegger, John & Maureen                                               10,000
597    Emma, Vincent & Ellen                                                   20,000
598    Engle, Fred W.                                                          25,000
599    English Jr., Maurice O.                                                 10,000
600    English, Marjorie                                                      170,000
601    Ensign, Mark                                                            15,000
602    Erbert, Russell                                                         10,000
603    Erhart, Allen                                                           10,000
604    Erickson, Donald J.                                                     10,000
605    Erikson, Arval                                                          10,000
606    Erion, Chris L.                                                          9,000
607    Ervin, Bradley                                                          15,000


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                     01CR0796-BTM, and 01CR1415-BTM
                                  (Sorted by Victim)


Row    Victim's Name                                                      Loss Amount
608    Esler, Wyville D.                                                        20,000
609    Essley, John                                                             40,000
610    Ethen, Mark A.                                                           20,000
611    Eureka                                                                   15,000
612    Eurion, Mary L.                                                           1,000
613    Evans, Cora                                                              10,000
614    Evans, William (or Willie Browning)                                       5,000
615    Ewado Enterprises Inc.                                                   20,000
616    Faba, Kurt T.                                                            10,000
617    Faber, Christopher T.                                                    15,000
618    Fair, Sandra                                                             10,000
619    Fairchild, Byrnes C.                                                     10,000
620    Fairway Country Furnishings (c/o Joseph Branion)                         70,000
621    Faliski Jr., Robert J.                                                   10,000
622    Fariel, Rosemary                                                         10,000
623    Farrand Jr., Merril                                                       5,000
624    Farris, James T.                                                         10,000
625    Faulkner Financial                                                       10,000
626    Feibelmann, Hans W.                                                      10,000
627    Felgelmann, Hans                                                          5,000
628    Felker, Gerald                                                           85,000
629    Fenerty, Mary                                                            10,000
630    Feniger, David Jeremian                                                  10,000
631    Fenolio, Dorothy & Herbert                                               30,000
632    Ferguson, Richard & Barbara A.                                           10,000
633    Fernau, David                                                            20,000
634    Ferraro, Anthony & Colleen                                               20,000
635    Ferry, Craig (& Christine Maro)                                           5,000
636    Feuz, Simon                                                              10,000
637    Fieke, Gerry                                                             10,000
638    Field - Stephenson, Barbara S.                                           55,000
639    Fields, Edward W.                                                        10,000


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                                 (Sorted by Victim)


Row    Victim's Name                                                     Loss Amount
640    Fields, Terry                                                           15,000
641    Fila, Frank & Genevieve                                                 50,000
642    Filippo, Frank J.                                                       10,000
643    Finch, Edward L.                                                        80,000
644    Finch, Joyce                                                            10,000
645    Finck, Anne                                                             20,000
646    Finkelstein, Yoram                                                      45,000
647    Finuce, George G.                                                       10,000
648    Firmignac, Georges                                                      10,000
649    First Keystone Federal Bank C.C.                                         5,000
650    Fisher, William Robert                                                   5,000
651    Fithen, George & Betty                                                  10,000
652    Fitting, Willis                                                          5,000
653    Fitzgerald, Lucille                                                     10,000
654    Fitzpatrick, Cleve & Thelma                                             50,000
655    Fitzpatrick, Robert B.                                                  50,000
656    Flanakin, Jane A. (& David T. Koupal)                                   20,000
657    Flanders, Melanie G.                                                    15,000
658    Flassig,
             g August
                   g                                                           10,000
659    Fleming, Patty P.                                                       60,000
660    Flesher, Gail T.                                                        15,000
661    Fletcher, Robert                                                        15,000
662    Flick, Eleanore                                                          5,000
663    Fligiel DDS Inc., George M.                                             20,000
664    Florey, Quentin                                                         10,000
665    Fogal, Thomas G.                                                        10,000
666    Fonda, Lois                                                             20,000
667    Foney, Everett                                                          10,175
668    Fortunato, Joseph P.                                                     5,000
669    Fosnaugh, Edwin L.                                                      10,000
670    Foster, James M.                                                        10,000
671    Foster, Kenneth & Dorothy                                               20,000


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                     01CR0796-BTM, and 01CR1415-BTM
                                 (Sorted by Victim)


Row    Victim's Name                                                     Loss Amount
672    Foster, Raymond F. & Lois A.                                            15,000
673    Foster, Sandra                                                          25,000
674    Foster, William L.                                                      20,000
675    Fostle, Nancy                                                            5,000
676    Fowler, James                                                           10,000
677    Fowler, Raymond W.                                                      20,000
678    Fowler, Wayne E.                                                        10,000
679    Fox, Clifton L.                                                         20,000
680    Fox, Dewey                                                              15,000
681    Frame, Ralph & Mary                                                      5,000
682    Frank, F. Earl                                                          20,000
683    Franklin, Jim                                                           10,000
684    Franks Jr., Robert B. & Pamela D.                                       20,000
685    Frederick, Ronald                                                       20,000
686    Fredersdorff, Heinz                                                     25,000
687    Freeland, Charles L.                                                    20,000
688    Freeman, Kevin & Kasama                                                 15,000
689    Freeman, Warren W.                                                      10,000
690    Freeman, Wilbert                                                        25,000
691    French, Fred                                                            10,000
692    Friddell, Bill and Vicki                                                10,000
693    Fritz, Wallace & Kathleen                                               10,000
694    Fruehauf, Marc                                                          10,000
695    Frye, Gregory & Linda Kay Mitchell                                      10,000
696    Frye, Helen W.                                                          10,000
697    Fryer, Robert & Betty                                                   35,000
698    Fryn, Peter                                                             10,000
699    Fu, Tsu-Yu                                                              20,000
700    Fuller MD, Ralsa Moody                                                  10,000
701    Funk, Edward                                                            35,000
702    Furlow, Billie Ann                                                      10,000
703    Fuss, Elizabeth & Veronica                                               5,000


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                     01CR0796-BTM, and 01CR1415-BTM
                                 (Sorted by Victim)


Row    Victim's Name                                                     Loss Amount
704    G.A. Weaver Partnership (c/o George A. Weaver)                          15,000
705    Gaestel, David & Deborah                                                20,000
706    Gaffney, Faye                                                           30,000
707    Gafvert, Martin R.                                                      15,000
708    Gallegos, Casimira G.                                                   20,000
709    Gantz, Edwin W.                                                         20,000
710    Garcia, Aubrey L.                                                       10,000
711    Garcia, Connie K.                                                       20,000
712    Garcia, Marianito & Adelina                                             20,000
713    Gardner, Billy "Gene"                                                   10,000
714    Garecht, Robert L.                                                      10,000
715    Garner, Donald G. & Wanda                                               10,000
716    Gauldin, Virginia S.                                                    15,000
717    Gauthier, Milburn P.                                                    10,000
718    Gay, David M.                                                           10,000
719    Geiger, Kenneth                                                         10,000
720    Geiosca, Pierina                                                        10,000
721    Gelb, Edward                                                             5,000
722    Geller, Ulrich A.                                                       30,000
723    Gelman, Sidney                                                          10,000
724    Genovich, Peter A.                                                      10,000
725    Geolat, Norman & Dolores                                                15,000
726    George, Neville                                                         10,000
727    Gerard, Peter P.                                                        10,000
728    Geri - Mar Inc.                                                          5,000
729    Gerrald, Shelba                                                          5,000
730    Gianni, Louis R. (Select Trust Account)                                 20,000
731    Gibble, Robert S.                                                       10,000
732    Gibbons, Annie Wong & Timothy                                           10,000
733    Gibbs, Lloyd (& Guyanne Gibbs Shood)                                    30,000
734    Gibbs, Raymond A.                                                       10,000
735    Gichino, Linda R.                                                       10,000


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                     01CR0796-BTM, and 01CR1415-BTM
                                 (Sorted by Victim)


Row    Victim's Name                                                     Loss Amount
736    Gies, Charles E.                                                         5,000
737    Giffen, Kirk R.                                                         15,000
738    Gilland, William & Jacquelyn                                            10,000
739    Gilliam, Betty J.                                                       10,000
740    Gilliam, Glenn                                                          10,000
741    Gillings, James & Mary                                                  10,000
742    Gingrass, Michael                                                       30,000
743    Giovannini, Nancy                                                       10,000
744    Gish, Harold E.                                                         10,000
745    Gissel, Peter                                                           10,000
746    Glass, Sol                                                              10,000
747    Glauser, Earl A.                                                        10,000
748    Glavich, Charles & David                                                15,000
749    Glessing, William C.                                                    10,000
750    Glick, Larry A. & Renee                                                 20,000
751    Glodowski, Clarence                                                     10,000
752    Glodowski, Clarence & Ann                                                5,000
753    Gloeb, Leonard                                                          40,000
754    Goad, Robert                                                            29,877
755    Goddard, William                                                        10,000
756    Goehring, June                                                          10,000
757    Goehring, Sidney D. (& Jane Alston)                                     10,000
758    Goff, Charlene                                                          65,000
759    Goff, John & June                                                       10,000
760    Goff, John W. (Revocable Living Trust Account)                          10,000
761    Goff, Roger & Robin                                                     10,000
762    Goldfarb, Marcel & Ruth                                                 10,000
763    Gonsalves, Frank                                                        20,000
764    Gonzales Jr., Jeanne L. & Edwin C.                                       5,000
765    Gonzales, Harold & Lois                                                110,000
766    Gordon, Merrill K.                                                      25,000
767    Gordon, Randolph & Norma                                                20,000


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                     01CR0796-BTM, and 01CR1415-BTM
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Row    Victim's Name                                                     Loss Amount
768    Gosalia, Snchal V.                                                       5,000
769    Gottlick, Jerome                                                        15,000
770    Graber, Robert                                                          10,000
771    Graham Jr., Leo & Gloria                                                20,000
772    Graham, Thomas P. & Earline                                             15,000
773    Grainger, David                                                         50,000
774    Granger, Russell P.                                                     10,000
775    Granlees, Ruth                                                          10,000
776    Grant, Larry                                                            25,000
777    Grant, Sharon                                                           10,000
778    Grasser, Kevin L.                                                       30,000
779    Grawrock, David                                                         10,000
780    Gray, Donald & Debra                                                    10,000
781    Grayson, Bobby                                                              75
782    Green, Denise                                                           30,000
783    Green, Hayden                                                           10,000
784    Green, Kenneth L.                                                       10,000
785    Green, Warren & Rose                                                     5,000
786    Green, William C. & Ruth                                                10,000
787    Greene, Carl & Alice                                                    40,000
788    Greenfield, Jack & Julie                                                10,000
789    Greenfield, Kimberly S.                                                 25,000
790    Greenwood, Ashten                                                       10,000
791    Greer, Albert R.                                                        10,000
792    Gregg, Ruth Reeves                                                      20,000
793    Gresham, Charlotte                                                      10,000
794    Greze III, John P.                                                      20,000
795    Gridley, Robert M.                                                      10,000
796    Griffin, Rudolph & Edna                                                  5,000
797    Grigsby, Dewayne                                                        20,000
798    Grindley, Robert                                                        10,000
799    Grissom, Kimberly                                                        5,000


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                          Victim Restitution List
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                     01CR0796-BTM, and 01CR1415-BTM
                                 (Sorted by Victim)


Row    Victim's Name                                                     Loss Amount
800    Groendyke, Bruce                                                        20,000
801    Gross, Donald                                                           10,000
802    Grossenbach, Robert A.                                                  55,000
803    Grove, Pecolia Josey                                                     9,990
804    Groves, Willice & Mable                                                 50,000
805    Grumbach, Melvin M.                                                     10,000
806    Grunden, Mary                                                           10,000
807    Grunes, Sampson                                                         50,000
808    Guard, Hugh                                                             10,000
809    Gunawan, Albert                                                         10,000
810    Gustafson, Layne B.                                                     10,000
811    Guy - Haynie, Jessica                                                   30,000
812    H.R. Mortgage Co.                                                       20,000
813    Haas Jr., John C.                                                       10,000
814    Habeck, Guenther H.                                                     10,000
815    Hackney, Joseph                                                         20,000
816    Haechrel, Laurence A.                                                   30,000
817    Hafner, Carl                                                            37,000
818    Haiges
          g Jr., Paul E.                                                       15,000
819    Haith, Lewis                                                            10,000
820    Hajdu, Andre                                                            10,000
821    Halbauer, Dan                                                           10,000
822    Haley, Joan                                                             10,000
823    Hall, John T. & Sharon L.                                               20,000
824    Hall, William                                                           10,000
825    Halstead, Rodney & Kimberly                                             10,000
826    Halvorson, David                                                        15,000
827    Hamilton, David                                                         20,000
828    Hamilton, Kenneth W.                                                    10,000
829    Hammerk, Beverly J.                                                     20,000
830    Hammett - Jackson, Patricia                                             40,000
831    Hammond, E. Keith                                                       10,000


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                     01CR0796-BTM, and 01CR1415-BTM
                                   (Sorted by Victim)


Row    Victim's Name                                                       Loss Amount
832    Hamrick, Michael S.                                                       10,000
833    Hancock, Craig E. & Laura S.                                              20,000
834    Hands On Repo Inc.                                                        35,000
835    Handy, Ray L.                                                             25,000
836    Hannel, Jeffrey W.                                                        10,000
837    Hannon, Cleona I.                                                        105,000
838    Hansen, Robert & Grace                                                    20,000
839    Hansley, Carl Frank                                                       20,000
840    Hanson, Edgar R. & Theresa                                                15,000
841    Hanson, Harold                                                            10,000
842    Hardesty, Rory                                                            10,000
843    Hardin, Ames L.                                                           10,000
844    Hardy, Charles                                                            10,000
845    Harker, Doug & Sharon                                                     20,000
846    Harlan, Edna E.                                                           10,000
847    Harlan, Else C.                                                           10,000
848    Harlow, Leslie A.                                                         10,000
849    Harrell, Robert D.                                                        10,000
850    Harrigan,
            g     Thomas                                                         10,000
851    Harris, Darrel                                                            10,000
852    Harris, Delbert J.                                                        20,000
853    Harris, Don B.                                                             5,000
854    Harris, Duane & Minnie                                                    40,000
855    Harris, James & Kathryne                                                  10,000
856    Harrison, Charles Duane & Leah R.                                         55,000
857    Hart, Ira                                                                 10,000
858    Hart, Juliette                                                            10,000
859    Hart, Sheila W.                                                           10,000
860    Harter, Robert & Carrie                                                   15,000
861    Hartley, Dale                                                             30,000
862    Hartley, Dale (c/o Dale Hartley Inc.)                                     10,000
863    Hartley, Marvin                                                           10,000


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                     01CR0796-BTM, and 01CR1415-BTM
                                   (Sorted by Victim)


Row    Victim's Name                                                       Loss Amount
864    Hartman, Thomas & Marilyn                                                 10,000
865    Hartwig, Evelynn & Allen                                                  10,000
866    Hartzell, Kay A. (& Christel R. Ehrich)                                   15,000
867    Harvey III, Eugene & Shelia J.                                            20,000
868    Harwood, Edward J.                                                         5,000
869    Haselhoef, Willy J. (Trust Account)                                       15,000
870    Hatcher, Georgia                                                          15,000
871    Hauenstein, Aubert                                                        10,000
872    Haughland, Gerald & Helen                                                 10,000
873    Havekotte, Harold A.                                                      15,000
874    Haverkate, Sally A. (Trust Account)                                       15,000
875    Hawkins, Jim                                                              10,000
876    Hawkins, Mertice                                                          30,000
877    Hawthorne, Clenentine M.                                                  20,000
878    Haydon, James T.                                                          10,000
879    Hayes, Sylvester & Druecilla                                              20,000
880    Hayslip, Donna D.                                                         10,000
881    Healey, Stephen G. & Donna M.                                             10,000
882    Heard, Aaron                                                              25,000
883    Heaton, Paul W.                                                           10,000
884    Heavner, Doug & Anita                                                     10,000
885    Hedge, Alan M.                                                            10,000
886    Heemstra, James & Dorothy                                                  5,000
887    Heer, Ranjeet Singh & Shinderpal                                          40,000
888    Heflin, Jerry                                                             10,000
889    Heldenbrand, Donald J.                                                    10,000
890    Heller, Jerrold F. & Susan E.                                             10,000
891    Helm, Marsha                                                              10,000
892    Heltsley, James R.                                                        10,000
893    Henderson, Paul                                                           20,000
894    Hendrex, Mavys                                                            10,000
895    Henke, Loren William & Evelyn                                             10,000


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                                 (Sorted by Victim)


Row    Victim's Name                                                     Loss Amount
896    Hennessey, Margaret M.                                                  10,000
897    Henrich, William J.                                                     10,000
898    Henry Jr., Anthony J.                                                   10,000
899    Henry, Stephen M.                                                       25,000
900    Hepburn, James & Peggy                                                  10,000
901    Herberts, Victor & Nancy                                                 5,000
902    Herbst, Gregory A.                                                      10,000
903    Herman, Cheryl                                                          10,000
904    Hernandez, Moses                                                        10,000
905    Hernes, Richard E.                                                      20,000
906    Herr, John                                                               5,000
907    Hershberger, Philip & Nancy                                             75,000
908    Hertel, Norbert J.                                                      10,000
909    Hess, Joseph W.                                                         25,000
910    Hess, Robert L.                                                         10,000
911    Hester, Dewayne                                                         10,000
912    Hester, Thomas & Elizabeth                                              10,000
913    Hetfield, Donald & Mary Ann                                             50,000
914    Hetzel, Kitrina                                                          3,000
915    Hewett, McCluey                                                          5,000
916    Heyman, Alva W.                                                         25,000
917    Hieb, Roland D. & Connie F.                                             20,000
918    Higbee, Herbert                                                         10,000
919    Higginbotham, (first name unknown)                                       6,000
920    Highsmith, Stephanie                                                    10,000
921    Hildebrand, Duane                                                       20,000
922    Hildebrant, Andy M.                                                     10,000
923    Hilden, Robert & Ardith                                                 10,000
924    Hildenbrand, Brett                                                      10,000
925    Hill, Barbara P.                                                        20,000
926    Hill, Ernest H.                                                         30,000
927    Hill, Joseph & Francoise                                                10,000


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                     01CR0796-BTM, and 01CR1415-BTM
                                 (Sorted by Victim)


Row    Victim's Name                                                     Loss Amount
928    Hillam, Douglas                                                          5,000
929    Hilliard, Melvin R.                                                      5,000
930    Hilliker Jr., Ernest J.                                                 10,000
931    Hilty, Mark B. & Marjorie                                               20,000
932    Hime, Donald E.                                                         40,000
933    Hintz, Steve M.                                                          5,000
934    Hirni, Larry                                                            10,000
935    Hirsch, Gordon & Jane                                                   10,000
936    Hlad, Terry & Kerry                                                     10,000
937    Hoblitzell, Jefferis                                                    10,000
938    Hock, David R. & Mary Jane                                              20,000
939    Hockensmith, Theresa                                                    10,000
940    Hoelter, Daniel Bruce                                                   10,000
941    Hoex, Gerry T. (c/o G.T.H. Photo Lab)                                   10,000
942    Hoffman, A.                                                             10,000
943    Hoffman, Peter                                                          70,000
944    Hoffman, Philip & Barbara D.                                            30,000
945    Hohendorf, Lucille M.                                                   25,000
946    Holeman, George g & Elayne
                               y                                               10,000
947    Holland Jr., Theodore A.                                                10,000
948    Holland, Franklin D.                                                    10,000
949    Holleran, Heather                                                       40,000
950    Hollobaugh, Albert                                                      10,000
951    Holloran, Daniel & Abigail P.                                           10,000
952    Holloway, Julia                                                         30,000
953    Holm, Donald & Sharon                                                    5,000
954    Holmberg, Zane W.                                                       15,000
955    Holmes, Martin L.                                                       10,000
956    Holstein, Wesley & Jean Lynn Dalton                                     30,000
957    Holz, Gwendolyn D.                                                      10,000
958    Honnet, Eugene                                                          50,000
959    Hoo, Stephen & Terri Y.                                                 30,000


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                     01CR0796-BTM, and 01CR1415-BTM
                                 (Sorted by Victim)


Row    Victim's Name                                                     Loss Amount
960    Hook Jr., Earl                                                          20,000
961    Hoover, Betty R.                                                        30,000
962    Hope, Willard & Glenda O.                                               10,000
963    Hopkins, Norman                                                         10,000
964    Hoppe, Judith A.                                                         5,000
965    Horner, Harold E.                                                       10,000
966    Hornot, Eugene Wiltz                                                    25,000
967    Horton, Arnold                                                          10,000
968    Hoshijo, Richard S.                                                     30,000
969    Hosley, Janet                                                           10,000
970    Houchin, Kenneth                                                        15,000
971    Houghton, Thomas S. & Martha L.                                         20,000
972    Housand, Larry                                                           5,000
973    Houser Jr., Hervey F.                                                   10,000
974    Howard, Cary & June                                                     10,000
975    Hoy, Eldon                                                               5,000
976    Huang, Mark Liang Sing                                                  10,000
977    Hudak, Larry J.                                                         10,000
978    Hudiburg,
               g John & Guylynn
                             yy                                                10,000
979    Hudson, Sean & Jean                                                      5,000
980    Hudson, William K.                                                      10,000
981    Huger, Stacy                                                            10,000
982    Hughes, Charles                                                          5,000
983    Hundermer, John R.                                                      20,000
984    Hunt III, Ralph B.                                                      10,000
985    Hunt, Gloria                                                            10,000
986    Hunt, Lessie                                                            25,000
987    Hurley, Patricia                                                        10,000
988    Hurty, Sarah L.                                                         60,000
989    Huston, Dallas E. & Glenda                                              20,000
990    Hutcheson, Clyde                                                        10,000
991    Hutchinson, Marvin A. & Etta Louise                                     50,000


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                       01CR0796-BTM, and 01CR1415-BTM
                                   (Sorted by Victim)


 Row     Victim's Name                                                     Loss Amount
 992     Hwa, Shirley S.                                                         10,000
 993     HydroChem Corporation (Profit Sharing Trust Account)                    20,000
 994     Hying, Celene                                                           20,000
 995     Ibbitson, Harold R.                                                     10,000
 996     Ice Jr., Virgil R.                                                       5,000
 997     Ijames, Betty F.                                                        10,000
 998     Ikenberry, Wesley D.                                                    10,000
 999     Imhoff, Alma                                                            10,000
1,000    Impens, Christopher                                                     10,000
1,001    Inbody, Randy                                                           10,000
1,002    Ingram, Clifford & Barbara                                              25,000
1,003    Ingram, Louis & Mary (Trust Account)                                    10,000
1,004    Irrer, Raymond J.                                                       70,000
1,005    Irvin, Douglas                                                          35,000
1,006    Irvine, Lawrence                                                        10,000
1,007    Irwin, Edna                                                             20,000
1,008    Irwin, Lois E.                                                          25,000
1,009    Irwin, Phillip C.                                                        5,000
1,010    Isenhart, Ruth R.                                                       65,000
1,011    Isom, Timothy & Amorette Jean                                           10,000
1,012    Ison, Roger L.                                                          10,000
1,013    Iverson, John E.                                                        10,000
1,014    Ivie, John K.                                                            5,000
1,015    Iwanec, Anthony                                                         10,000
1,016    Jacks, Michael                                                          10,000
1,017    Jackson, David A.                                                        5,000
1,018    Jacob, Dianne                                                           25,000
1,019    Jacobs, Mary S.                                                         10,000
1,020    Jacobson, James Paul & Mary                                              5,000
1,021    Jahnke, David & Carol                                                   10,000
1,022    James Jr., William                                                      10,000
1,023    James, Mark & Joyce                                                     10,000


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                       01CR0796-BTM, and 01CR1415-BTM
                                    (Sorted by Victim)


 Row     Victim's Name                                                      Loss Amount
1,024    Jani, Dushyant                                                            5,000
1,025    Janoski, Joseph F.                                                       10,000
1,026    Jansen, Kenneth & Beverly                                                10,000
1,027    Jarrett, Ronald                                                           5,000
1,028    Jazwiecki, Leonard & Mary                                                10,000
1,029    Jeanblanc, Guy Y.                                                        20,000
1,030    Jefferis, William & Doris                                                10,000
1,031    Jensen, Erik                                                             10,000
1,032    Jensen, Harvey R.                                                        10,000
1,033    Jensen, Todd L.                                                          55,000
1,034    Jensen, William                                                          20,000
1,035    Jernigan, Sara S. (Trust Account)                                        10,000
1,036    Jimenez, Abraham                                                         10,000
1,037    John, Philip                                                             15,000
1,038    Johnson, Carolyn                                                         10,000
1,039    Johnson, Catherine L.                                                    10,000
1,040    Johnson, Christine                                                       10,000
1,041    Johnson, Colleen                                                         10,000
1,042    Johnson, Glenda M. & Charlie                                              5,000
1,043    Johnson, James                                                            5,000
1,044    Johnson, Jan                                                             10,000
1,045    Johnson, Jeanette                                                        10,000
1,046    Johnson, Jeffrey A.                                                      15,000
1,047    Johnson, Jerrell R.                                                      15,000
1,048    Johnson, Jewel                                                           10,000
1,049    Johnson, John Paul                                                       10,000
1,050    Johnson, Juliette T.                                                     25,000
1,051    Johnson, Leslie                                                          50,000
1,052    Johnson, Mary Jane                                                        5,000
1,053    Johnson, Norman A.                                                       30,000
1,054    Johnson, Ronald J.                                                       30,000
1,055    Johnson, Russell & Barbara                                               20,000


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                       01CR0796-BTM, and 01CR1415-BTM
                                    (Sorted by Victim)


 Row     Victim's Name                                                      Loss Amount
1,056    Johnston, Jeff                                                            5,000
1,057    Johnston, N. Paul & Irene                                                10,000
1,058    Joki, Robert & Rhonda                                                    10,000
1,059    Jones Jr., George C. & Roberta A.                                        10,000
1,060    Jones Sr., George C.                                                     10,000
1,061    Jones, Darrell & Debbie                                                   5,000
1,062    Jones, Darrell & Mary Jean                                               50,000
1,063    Jones, Garland                                                           60,000
1,064    Jones, Gloria Jean                                                       10,000
1,065    Jones, Harrison Milas                                                    10,000
1,066    Jones, Hunt                                                              40,000
1,067    Jones, Jean W. & Lewis C.                                                10,000
1,068    Jones, Kenneth Alan                                                      20,000
1,069    Jones, Kenneth Alan (or Gloria Jean Jones or Alice Jones)                10,000
1,070    Jones, Kevin                                                             10,000
1,071    Jones, Lynn M.                                                           10,000
1,072    Jones, Margaret M.                                                      205,000
1,073    Jones, Maxine & Stanley                                                  20,000
1,074    Jones, Tonyy                                                             50,000
1,075    Jordan, Abbie                                                            65,000
1,076    Jordan, Howard                                                           10,000
1,077    Josephson, Richard                                                       20,000
1,078    Joyce, Hardin Priscilla                                                  10,000
1,079    Joyce, John & Kathleen                                                   15,000
1,080    Kaelin, John                                                             10,000
1,081    Kahle II, John                                                           10,000
1,082    Kale, Wanda                                                              10,000
1,083    Kalensee, Otto                                                           10,000
1,084    Kalfuntzos, Dino                                                         10,000
1,085    Kamphaus, Richard L. & Theresa L.                                        20,000
1,086    Kandel, Ronald J. & Julia M.                                             10,000
1,087    Kanwal, Gurcharan Singh & Kamilpt Kalra                                   5,000


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                       01CR0796-BTM, and 01CR1415-BTM
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 Row     Victim's Name                                                     Loss Amount
1,088    Kapral, George (c/o George Kapral Enterprises)                          15,000
1,089    Kasten, Michael D.                                                      10,000
1,090    Kastle, Jerome & Mary Ann                                               10,000
1,091    Kathan, Artene S.                                                       15,000
1,092    Katzer, Dr. Earl Dean                                                   10,000
1,093    Kawer, Kenneth                                                          10,000
1,094    Keasler, Grady W. & Paulette R.                                         30,000
1,095    Keeney, John H. & Rachelle V.                                           60,000
1,096    Keep on Trucking Co. Inc. (c/o Lynden J. Stabler)                       10,000
1,097    Kehler, Douglas                                                         30,000
1,098    Kehrer, Sandra J.                                                       50,000
1,099    Keil, Steven L. & Marti A.                                              10,000
1,100    Keithley, Alfred L. & Melba L.                                          10,000
1,101    Keller, Ann                                                             20,000
1,102    Keller, Richard                                                         10,000
1,103    Keller, Richard D. (Trust Account)                                      10,000
1,104    Kelly, Thelma A.                                                        50,000
1,105    Kelly, Thomas R.                                                        20,000
1,106    Kelsey,
               y Richard D.                                                       5,000
1,107    Kemp Jr., Charles G.                                                    20,000
1,108    Kemper, Eddie P.                                                        10,000
1,109    Kempfert, Darrell                                                       10,000
1,110    KENCO (c/o Kenneth C. Manning)                                          10,000
1,111    Kennedy, Glen & Sandra (c/o Kennedy Electric Inc.)                      45,000
1,112    Kenyon, Bradford H.                                                     10,000
1,113    Kephart, Francis & Gwendolyn                                            10,000
1,114    Kern, Bernard S.                                                        60,000
1,115    Kernan, Thomas                                                          10,000
1,116    Kershner, Dale M. & Susan E.                                            10,000
1,117    Kessler, David                                                          10,000
1,118    Keye, Albert W.                                                         25,000
1,119    Keye, Ann B.                                                            20,000


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                       01CR0796-BTM, and 01CR1415-BTM
                                    (Sorted by Victim)


 Row     Victim's Name                                                      Loss Amount
1,120    Kidd Jr., Mahlon C.                                                      25,000
1,121    Kiely Jr., Edward J. & Kathleen E.                                       20,000
1,122    Killebrew Jr., Wilbur N.                                                 20,000
1,123    Kindrick, David W. & Mary E.                                             10,000
1,124    King, Robert J.                                                          20,000
1,125    Kirby, James & Bertha                                                    30,000
1,126    Kiser, Mark                                                              10,000
1,127    Kislingbury, Mavis L. (& Gerlinde M. Hamilton)                           10,000
1,128    Kisst, John Gregory                                                      10,000
1,129    Kitchen, Thomas Robert                                                   20,000
1,130    Kitzmiller, Thomas & Kum Sook                                            10,000
1,131    Klasen, Marilyn                                                          25,000
1,132    Kleberger, Kenneth A.                                                    30,000
1,133    Kleine, Paul & Rose                                                      15,000
1,134    Klemme, Iris E.                                                          10,000
1,135    Kline, Joseph                                                            10,000
1,136    Klosinski, Michael                                                       10,000
1,137    Klotzbach, Alan                                                          10,000
1,138    Knesel, Elizabeth Argue
                              g ((Trust Account))                                 40,000
1,139    Knight, Pamela M.                                                        10,000
1,140    Knott Jr., Bob                                                           15,000
1,141    Knowlton, Harold                                                         15,000
1,142    Knowlton, Thomas Martin                                                  10,000
1,143    Kocher, David R.                                                         10,000
1,144    Koenig, Corinne C.                                                       15,000
1,145    Koogle, Mary Catherine                                                    5,000
1,146    Koonce, Sterling Grady                                                   25,000
1,147    Koontz, Larry A.                                                         10,000
1,148    Korn, Maryanne L.                                                        10,000
1,149    Korwatch, Steven J.                                                      10,000
1,150    Koshenina, Gregory C.                                                    10,000
1,151    Koski, Jerry E.                                                          10,000


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                       01CR0796-BTM, and 01CR1415-BTM
                                    (Sorted by Victim)


 Row     Victim's Name                                                      Loss Amount
1,152    Kovac, Robert W.                                                         20,000
1,153    Kozlowski, Robert A.                                                     10,000
1,154    Kraft, Anthony J.                                                        10,000
1,155    Kratt III, Edward J. & Norma A.                                          55,000
1,156    Kreinbrink, Richard C.                                                    5,000
1,157    Krug, Mark A. & Elise G.                                                 20,000
1,158    Kubasky, Joseph R.                                                       10,000
1,159    Kuhni, Melvin R.                                                         10,000
1,160    Kuklies, Steven A.                                                       10,000
1,161    Kuklies, Steven A. & Deborah J.                                           5,000
1,162    Kulan, Michael S.                                                        10,000
1,163    Kumbaugh, Rhonda J.                                                      25,000
1,164    Kuo, Henry Chia & Fanny                                                  10,000
1,165    Kuprionas, Robert A. & Sherry                                            10,000
1,166    Kuras, Duane J.                                                          20,000
1,167    Kuyper, Margaret O.                                                      25,000
1,168    Kwartiroff, Catherine & Alexander R.                                     30,000
1,169    Lacey, Mike                                                              25,000
1,170    LaForce, Vince & Beverlyy                                                30,000
1,171    Lafuse, Don                                                              10,000
1,172    Lagally, Ralph W.                                                        10,000
1,173    LaGrand, John & Robin                                                     5,000
1,174    Laikind, Barbara                                                         10,000
1,175    Lail, Jo Ann                                                             10,000
1,176    Laine, Constance                                                         20,000
1,177    Laird, Jack G.                                                           10,000
1,178    Lake, David & Diana                                                      20,000
1,179    Lake, Michael & Angie R.                                                 20,000
1,180    Lamb, Janice W.                                                          10,000
1,181    Lambson, William A.                                                       5,000
1,182    Lamdin, Denis                                                            10,000
1,183    Lamp, Odessa L.                                                          10,000


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                            Victim Restitution List
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                       01CR0796-BTM, and 01CR1415-BTM
                                   (Sorted by Victim)


 Row     Victim's Name                                                     Loss Amount
1,184    Lamphere, Marc                                                           5,000
1,185    Lampkins, Lillian E.                                                    10,000
1,186    Lanaux, Jacques                                                          5,000
1,187    Landee, Richard                                                          5,000
1,188    Landers, James                                                          25,000
1,189    Landin, Denis J.                                                        10,000
1,190    Landon, Richard & Joann                                                 25,000
1,191    Landrigan, Rosemary G.                                                   5,000
1,192    Landrum, Frances (Trust Account)                                        10,000
1,193    Lang, Patricia A.                                                       50,000
1,194    Lange, Elden F.                                                         10,000
1,195    Lange, Reuben V.                                                         5,000
1,196    Langer, Larry J.                                                        10,000
1,197    Langley, Albert                                                         10,000
1,198    Langley, Beryl                                                          10,000
1,199    Langston, Charles, Kelly, & Randy                                       20,000
1,200    Lannon, Joseph                                                          10,000
1,201    Lantz, Chris M.                                                         15,000
1,202    Lapia
           p Jr., Michael J.                                                     20,000
1,203    Larkin, John R.                                                         10,000
1,204    Larsen, Carl A.                                                         60,000
1,205    Larwood, Linda                                                          10,000
1,206    Lasich, Raymond & Mary Ellen                                            30,000
1,207    Laska, David A.                                                         30,000
1,208    Latham, Eunice S.                                                       20,000
1,209    Latham, Randall W.                                                      10,000
1,210    Lau, Rex                                                                10,000
1,211    Laubenstein, Molly-Jean W.                                             145,000
1,212    Lauderback, Paul (Living Trust Account)                                 10,000
1,213    Lawrence, Jack                                                          30,000
1,214    Laynor, William A.                                                      10,000
1,215    Lazarus, Morton                                                         10,000


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                       01CR0796-BTM, and 01CR1415-BTM
                                   (Sorted by Victim)


 Row     Victim's Name                                                     Loss Amount
1,216    Lazicki, Daniel A.                                                      10,000
1,217    Lecates, Samuel                                                         10,000
1,218    Ledbetter, Donald                                                       20,000
1,219    Lee, Carl & Caroline                                                    10,000
1,220    Lee, Valerie                                                             5,000
1,221    Lee, Vincent & Avis                                                     20,000
1,222    Lee, William & Alline                                                    5,000
1,223    Lee, William D. (Family Revocable Trust Account)                        10,000
1,224    Lees Jr., William H.                                                     5,000
1,225    Leeth, Robert W.                                                         9,000
1,226    Legg, Robert R.                                                         10,000
1,227    Legowsky, Donald J.                                                      5,000
1,228    Leighton Insurance Agency                                               10,000
1,229    Leininger, Carol Anne                                                    5,000
1,230    Lemker, Mary A. (Trust Account)                                         30,000
1,231    Lentner, Joanne C.                                                       5,000
1,232    Leonard, Garry M.                                                       20,000
1,233    Leonpacher, Alfred B.                                                    5,000
1,234    Letner, Bernard                                                         10,000
1,235    Leutwyler, Joann & Wilbur                                               10,000
1,236    LeVan, Kevin & Cynthia                                                  10,000
1,237    Levario, Grace                                                          10,000
1,238    Leveque, Peter                                                          10,000
1,239    Levi, Eleanor                                                           10,000
1,240    Levine, Carol Boone                                                     30,000
1,241    Lewenhaupt, Jan (Trust Account)                                         10,000
1,242    Lewis, Edward L.                                                        15,000
1,243    Lewis, Gary D.                                                          10,000
1,244    Lewis, Kevin & Dawn                                                     10,000
1,245    Lewis, Orel E.                                                          10,000
1,246    Lewis, Walter & Kim                                                     10,000
1,247    Liang, Ralph H.                                                         10,000


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                       01CR0796-BTM, and 01CR1415-BTM
                                   (Sorted by Victim)


 Row     Victim's Name                                                     Loss Amount
1,248    Liang, Robert C. & Susan                                                35,000
1,249    Libbee, Anita M.                                                        10,000
1,250    Lichtenberg, Norman & Janet                                             10,000
1,251    Lilly, Robert H.                                                        10,000
1,252    Lin, Peter & Linda                                                      35,000
1,253    Lindsay, Roy                                                            10,000
1,254    Lindsey, Gerard                                                         10,000
1,255    Lindstrom, Dale & Annette                                               10,000
1,256    Lines, Richard & Ramona                                                 10,000
1,257    Linsmeier, Robert C.                                                    55,000
1,258    Liston, Dal & Lori                                                      25,000
1,259    Litfin, Lilly B.                                                        10,000
1,260    Littlefield, Donna F.                                                   10,000
1,261    Littlefield, Richard                                                    10,000
1,262    Litton, David                                                            5,000
1,263    Livadas, Dorothy                                                         5,000
1,264    Lively, William D.                                                       5,000
1,265    Lobello, Mark & Barbara                                                 10,000
1,266    Locke, Wayne y A.                                                       20,000
1,267    Lockwood, Raymond                                                       10,000
1,268    Loehr, Howard                                                           10,000
1,269    Loehr, Marlin                                                           10,000
1,270    Lofgren, Eric                                                           20,000
1,271    Lofgren, Merlyn W. & Dorothy D.                                         10,000
1,272    Logan, Andrew H.                                                        15,000
1,273    Loges, William J. & Thomasine C.                                        15,000
1,274    Lohman-Vanderford, April Diane                                           5,000
1,275    Long, Keith                                                             10,000
1,276    Long, Walter H.                                                         10,000
1,277    Lopeman, Frank                                                          10,000
1,278    Lothery, Melvin                                                          5,000
1,279    Louie, Henry                                                            10,000


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                       01CR0796-BTM, and 01CR1415-BTM
                                   (Sorted by Victim)


 Row     Victim's Name                                                     Loss Amount
1,280    Lucas, Devin                                                            10,000
1,281    Lucas, Timothy                                                          10,000
1,282    Luck, Jack & Jennie                                                     10,000
1,283    Luetscher, Kenneth                                                      30,000
1,284    Lukacs, Robert & Jeanette                                               10,000
1,285    Lundgren - Thomas, Gail                                                  5,000
1,286    Lundstrom, Lloyd A. & Geraldine M.                                     430,000
1,287    Lundy, William                                                          10,000
1,288    Lungard, Peter                                                           5,000
1,289    Lunking, Franklin                                                       10,000
1,290    Luther, Lee                                                              5,000
1,291    Lyman, Ralph E.                                                         20,000
1,292    MacCasland, Roger H.                                                    20,000
1,293    MacDonald, Malcolm & Ellen                                               5,000
1,294    Mace, George R.                                                          5,000
1,295    MacElmurray, H.A.                                                       10,000
1,296    MacFarlane, James C. (Trustee)                                          10,000
1,297    Madsen, Earl                                                            10,000
1,298    Magness,
            g      Milton & Beatrice                                              5,000
1,299    Magnus, Vernon & Dorothy                                                 5,000
1,300    Magyar, Philip & Linda                                                  20,000
1,301    Mainguy, John J.                                                        10,000
1,302    Major, Gary James                                                       10,000
1,303    Maki, Verne B. (Family Revocable Trust Account)                         25,000
1,304    Malsin, Peter S.                                                        20,000
1,305    Manchester, Kenneth                                                    100,000
1,306    Manger, Kenneth & Elizabeth                                             15,000
1,307    Mangum, Mary L.                                                         10,000
1,308    Manning, Richard & Lona                                                 10,000
1,309    Manthei, Donald F. (Family Trust Account)                               10,000
1,310    Manton, Mark                                                            15,000
1,311    Manzanares, Nacor E. & Josephine                                         5,000


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                       01CR0796-BTM, and 01CR1415-BTM
                                    (Sorted by Victim)


 Row     Victim's Name                                                      Loss Amount
1,312    Maple Jr., Glen E.                                                       20,000
1,313    Mar, Stanley                                                             10,000
1,314    Maracine, Daniel                                                         10,000
1,315    Maran, Avonne C. & Daniel L.                                             10,000
1,316    Marino, John E. & Henrietta                                              20,000
1,317    Marinov, Delores C.                                                      10,000
1,318    Marion, Edith                                                            30,000
1,319    Markey, James J.                                                         15,000
1,320    Markle Jr., Frank H.                                                     10,000
1,321    Markovich, Rudy                                                          50,000
1,322    Markowitz, David M.                                                      20,000
1,323    Marland III, Albert                                                      10,000
1,324    Marlde III, Frank H.                                                      5,000
1,325    Maroul, John & Sandra                                                    10,000
1,326    Marquardt, Wilbert                                                       25,000
1,327    Mars, N.B.                                                               15,000
1,328    Marsh, Harry & Barbara                                                   40,000
1,329    Marsh, Robert & Sarah                                                    20,000
1,330    Marsh, Sharon C.                                                         10,000
1,331    Marshall, Robert                                                         10,000
1,332    Mart, Carl Frank                                                         10,000
1,333    Martin, Andrew Ryan (Trust Account)                                       5,000
1,334    Martin, Dudley                                                           10,000
1,335    Martin, Eddie                                                            10,000
1,336    Martin, Esther & Frederick                                               10,000
1,337    Martin, Eugene E.                                                        20,000
1,338    Martin, James W.                                                         10,000
1,339    Martin, Paul & Marjie                                                    20,000
1,340    Martin, Wanda S.                                                         10,000
1,341    Martinez Jr., Tony                                                        5,000
1,342    Martinez, Ernest (c/o Roofing & Construction)                            20,000
1,343    Martinez, John H.                                                        20,000


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                       01CR0796-BTM, and 01CR1415-BTM
                                   (Sorted by Victim)


 Row     Victim's Name                                                     Loss Amount
1,344    Maru, Navin & Urvashi                                                    5,000
1,345    Mascarenas, Joe A.                                                      10,000
1,346    Mason, Chester                                                          80,000
1,347    Mason, Lydia Jane                                                       20,000
1,348    Massre, David                                                           10,000
1,349    Masters, Richard & Suzanne                                              10,000
1,350    Matejcic, John                                                          10,000
1,351    Mathes, Kurt & Betty                                                    10,000
1,352    Matheson, Joe                                                           10,000
1,353    Matkovich, Mark                                                         15,000
1,354    Matz, Mary                                                              10,000
1,355    Maurer, Margaret                                                        10,000
1,356    Maurer, Marlin W. & Deborah                                             10,000
1,357    Maves, Richard                                                          20,000
1,358    May, Larry & Sandra                                                     10,000
1,359    Maynard, Robert & Phyllis                                               10,000
1,360    McAllister, Dr. Gary K.                                                 25,000
1,361    McAllister, Todd                                                         5,000
1,362    McCabe, Monica A.                                                       20,000
1,363    McCall, Sylvester S. & Diane                                            10,000
1,364    McCaroll, John W.                                                       10,000
1,365    McCarthy, Joe                                                           10,000
1,366    McCarthy, John                                                          10,000
1,367    McCarthy, Joseph                                                        10,000
1,368    McCarty, Ned T. & Lela                                                  10,000
1,369    McCauley, Thomas                                                        10,000
1,370    McClain, Dan                                                            25,000
1,371    McClendon, Staples J.                                                   15,000
1,372    McClung, Timothy W.                                                     10,000
1,373    McCombs, William                                                         5,000
1,374    McConathy, Phil                                                         10,000
1,375    McCready, Larry W.                                                      10,000


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                       01CR0796-BTM, and 01CR1415-BTM
                                   (Sorted by Victim)


 Row     Victim's Name                                                     Loss Amount
1,376    McCulley, Janet                                                         30,000
1,377    McCullough, Raymond                                                     10,000
1,378    McDaniel, Calvin & Phyllis                                              35,000
1,379    McDermott, Bridget                                                      10,000
1,380    McDonald, Daniel & Doris                                                30,000
1,381    McDonald, Mickey & Kathryn                                              10,000
1,382    McDonald, Patti B.                                                      10,000
1,383    McDonald, Raymond                                                       45,000
1,384    McDonald, Riley                                                         50,000
1,385    McDonald, Sarah                                                         10,000
1,386    McGill, Peter                                                           10,000
1,387    McGinley, Michael B.                                                    24,985
1,388    McGorry, Catherine                                                      10,000
1,389    McHenry, Gary A.                                                        25,000
1,390    McHugh, James L.                                                        20,000
1,391    McIntosh, Alan R. & Lorraine M.                                         35,000
1,392    McIntosh, Rita K.                                                       10,000
1,393    McKenica, Keith & Andrea                                                10,000
1,394    McKibben, Thelma                                                         5,000
1,395    McKinley, Harry                                                         10,000
1,396    McKinney Jr., Carl                                                       5,000
1,397    McKinney, Carol A.                                                       7,500
1,398    McKinney, Wilbur V.                                                     12,500
1,399    McLain, George E. & Lucy                                                10,000
1,400    McLaughlin, John                                                        25,000
1,401    McLaughlin, Joseph                                                      10,000
1,402    McMahon, Dennis & Maria                                                  5,000
1,403    McMasters, Barry A.                                                     15,000
1,404    McMath, Vernon                                                          10,000
1,405    McMichael Jr., Marion                                                   40,000
1,406    McMichael, Larry                                                        10,000
1,407    McMorris, Marcia M. & Arthur                                            10,000


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                            Victim Restitution List
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                       01CR0796-BTM, and 01CR1415-BTM
                                   (Sorted by Victim)


 Row     Victim's Name                                                     Loss Amount
1,408    McPike, Noble & Nancy                                                   30,000
1,409    Mead, Joan C.                                                           10,000
1,410    Meale, Robert M.                                                        10,000
1,411    Medeika, John F.                                                        10,000
1,412    Medeiros, Angeline J.                                                   10,000
1,413    Meehan, David E.                                                        10,000
1,414    Mejorada, Alex                                                          10,000
1,415    Melbye, Donald C.                                                       10,000
1,416    Melling, Bill Douglas & Laurie                                          10,000
1,417    Mello, Peter                                                            20,000
1,418    Mena, Carl & Ruby                                                        5,000
1,419    Mendez, Robert & Rosalie                                                 5,000
1,420    Menehuni Inc.                                                           10,000
1,421    Mengel, Dale I.                                                         20,000
1,422    Menkens, Jeffrey                                                        20,000
1,423    Mercer, Virginia                                                         5,000
1,424    Merck, W. Russell                                                       10,000
1,425    Merritt, Alton & Earlene                                                50,000
1,426    Merritt, R. Monte                                                       10,000
1,427    Mesey, Jack & Betty                                                     10,000
1,428    Mesich, Joseph                                                          35,000
1,429    Meszar, Emery Eugene                                                     9,750
1,430    Meunier, Frederick A. & Daisy M.                                        80,000
1,431    Meyer, Gloria E. & Larry E.                                             20,000
1,432    Meyers, Bill                                                            20,000
1,433    Meyers, George H                                                        10,000
1,434    Michael, John E.                                                       170,000
1,435    Michaelson, Joel                                                         5,000
1,436    Michaud, John                                                            5,000
1,437    Michelsen, Daniel                                                       15,000
1,438    Michie, William & Inez M.                                               40,000
1,439    Mickey, Karen A.                                                        10,000


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                             Victim Restitution List
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                       01CR0796-BTM, and 01CR1415-BTM
                                    (Sorted by Victim)


 Row     Victim's Name                                                       Loss Amount
1,440    Middleton, Thomas J.                                                      10,000
1,441    Miley, Donald                                                             55,000
1,442    Millenium Prime                                                           10,000
1,443    Miller, Bobby R.                                                          10,000
1,444    Miller, Elsie                                                              5,000
1,445    Miller, Gary O.                                                           10,000
1,446    Miller, Harry & Terni                                                     10,000
1,447    Miller, Joseph                                                            25,000
1,448    Miller, Leonore F.                                                        10,000
1,449    Miller, Lucius Hilton                                                     10,000
1,450    Miller, Richard & Edith                                                   10,000
1,451    Miller, Robert & Ruby                                                     20,000
1,452    Miller, Robert E. & Miriam S.                                             20,000
1,453    Miller, Roger D.                                                          15,000
1,454    Miller, William Frederick                                                 10,000
1,455    Millner, Johnny                                                            5,000
1,456    Mills, Adrienne                                                           15,000
1,457    Mimmis Jr., Abe D.                                                        10,000
1,458    Minor, Charles E.                                                          5,000
1,459    Mitchell, Eva Dell                                                        10,000
1,460    Mitchell, Ida B. & Marsha                                                 10,000
1,461    Mitchell, Steven                                                          10,000
1,462    Mitchie, William & Inez                                                   10,000
1,463    Mitsuya, Shigeki                                                          35,000
1,464    Miura, Patricia R. & Tom T.                                               20,000
1,465    Miyashita, Glenn & Donna                                                  10,000
1,466    Miyashita, Harold M. & Lillie T.                                         100,000
1,467    Miyata, Randolph Y.                                                        5,000
1,468    Mize, Carlos R.                                                           10,000
1,469    Moberg, Ronald & Carol                                                    30,000
1,470    Mock, William                                                             20,000
1,471    Molen, Bill                                                               20,000


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                           Victim Restitution List
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                       01CR0796-BTM, and 01CR1415-BTM
                                  (Sorted by Victim)


 Row     Victim's Name                                                    Loss Amount
1,472    Molin, Harriet                                                         20,000
1,473    Moline, Richard & Joan                                                 20,000
1,474    Molluzzo, M.G. & Trudy                                                 15,000
1,475    Mongiardo, Frank                                                       30,000
1,476    Monroe, Helen                                                          15,000
1,477    Montagino, Neil J.                                                     10,000
1,478    Montclair Development                                                  40,000
1,479    Montes, Manuel                                                         10,000
1,480    Moon, Robert N.                                                         5,000
1,481    Moore Jr., Edgar & Gwendoline W.                                       10,000
1,482    Moore, Beverly                                                         10,000
1,483    Moore, Lola B. (Family Trust Account)                                  75,000
1,484    Moore, Olin & Ruth                                                      5,000
1,485    Moreau, Paul J.                                                        15,000
1,486    Morelli, John J.                                                       60,000
1,487    Morgan, Donald C.                                                      10,000
1,488    Morgan, Steven A.                                                      10,000
1,489    Morin, Barbara                                                         10,000
1,490    Morin, Philip
                     p C. ((& Jane L. Hough-Morin)
                                         g       )                              20,000
1,491    Morita, Sandra Lee                                                     40,000
1,492    Morley, Albert William                                                 15,000
1,493    Morris, Charles                                                        10,000
1,494    Morris, David L. & Virginia L.                                         20,000
1,495    Morris, Johnson                                                        10,000
1,496    Morris, Mark G.                                                        10,000
1,497    Morris, Paul & Norma                                                   10,000
1,498    Morson, Craig                                                          20,000
1,499    Morth, Steven J.                                                       30,000
1,500    Morton Jr., Ralph A.                                                   10,000
1,501    Moseley, John & Sara (Trust Account - HONEA Ltd.)                     185,000
1,502    Motzny, Kathleen E.                                                    90,000
1,503    Mountbatten, Isabel Nancy                                              35,000


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                              Victim Restitution List
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                       01CR0796-BTM, and 01CR1415-BTM
                                     (Sorted by Victim)


 Row     Victim's Name                                                       Loss Amount
1,504    Moy, Herman                                                                5,000
1,505    Mueller, Dr. Charles E.                                                   10,000
1,506    Mueller, Steven A.                                                        10,000
1,507    Munroe, Jack & Sally                                                      10,000
1,508    Murdock, Rosamond                                                         10,000
1,509    Murphy, Edward                                                            10,000
1,510    Murray (c/o MJM Associates), Madie                                        10,000
1,511    Murray, Hazel & Thomas                                                    10,000
1,512    Murray, Margaret A.                                                       10,000
1,513    Muse, Michelle M.                                                         10,000
1,514    Musson, Gertrude                                                          20,000
1,515    Musumeci, Joseph & Virginia                                               10,000
1,516    Muto, Peter A.                                                            10,000
1,517    Myer, Loren E.                                                             5,000
1,518    Myers, David A.                                                           90,000
1,519    Nation, Norma                                                             15,000
1,520    Navarro, Veto (Estate of Vito Navarro)                                     5,000
1,521    Naylor, Douglas D.                                                        20,000
1,522    Nebraska Associates (c/o
                              (   Peter Parket Sr.))                               10,000
1,523    Neff, Bruce E. & Karen R.                                                 10,000
1,524    Neil, Michael A.                                                           5,000
1,525    Neiner, Glenn                                                             10,000
1,526    Nelson, Charles H.                                                        10,000
1,527    Neubauer, Milton John (Trust Account)                                     10,000
1,528    Neuroth, Charles                                                          15,000
1,529    Newell, Richard & Dona                                                    10,000
1,530    Newkirk, Mark                                                              3,000
1,531    Newman, Martin & Annette                                                  10,000
1,532    Newsom, Fred                                                              45,000
1,533    Newton Jr., George D.                                                     40,000
1,534    Newton, John D.                                                           10,000
1,535    Nguyen, Hong & Hai Choung                                                  5,000


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                           Victim Restitution List
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                       01CR0796-BTM, and 01CR1415-BTM
                                   (Sorted by Victim)


 Row     Victim's Name                                                     Loss Amount
1,536    Nichols, Cletis                                                         20,000
1,537    Nichols, Dale                                                           25,000
1,538    Niedfelt, Doralene                                                      50,000
1,539    Niedfelt, Jerome                                                        10,000
1,540    Niemann, Carl J.                                                        10,000
1,541    Niese, Joseph L.                                                        10,000
1,542    Nilsen, Henning & Ina                                                   10,000
1,543    Nisbet, William & Ann                                                   60,000
1,544    Nishimoto, Kenneth                                                      10,000
1,545    NLCI Trust                                                               5,000
1,546    Nocera, Glenn                                                            5,000
1,547    Nordby, Gene M.                                                         50,000
1,548    Norman, Douglas E.                                                       5,000
1,549    Norman, Eunice & George                                                 15,000
1,550    Norouzi, Maryum A.                                                      10,000
1,551    Norris, Elizabeth                                                       35,000
1,552    Norton, Frank R.                                                        20,000
1,553    Norton, George E.                                                       20,000
1,554    Norton, Thomas R.                                                       40,000
1,555    Novack, Norman & Jacqueline                                             35,000
1,556    Noyes, Eleanor E. & Harry U.                                            10,000
1,557    Nummud Ltd.                                                              5,000
1,558    Nylander, John & Kathy                                                  20,000
1,559    Nystrom, Pauline E.                                                     10,000
1,560    O.K.Tobey Excavator                                                     40,000
1,561    Oakes, Lynwood T.                                                       35,000
1,562    O'Brien, Lawrence                                                       15,000
1,563    Ochiltree, Luther D.                                                    10,000
1,564    O'Connor, John                                                           5,000
1,565    O'Dell, Edward & Mary                                                   10,000
1,566    Ogle, Jeffrey K.                                                        10,000
1,567    O'Hare, Kenneth D.                                                      10,000


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                       01CR0796-BTM, and 01CR1415-BTM
                                    (Sorted by Victim)


 Row     Victim's Name                                                       Loss Amount
1,568    Ohme, Kevin                                                               25,000
1,569    Oines, Reid                                                               25,000
1,570    OJM Group                                                                 10,000
1,571    Oligschlaeger, Frederick                                                  10,000
1,572    Olsen, Robert J.                                                          10,000
1,573    Olsen, Thomas                                                              5,000
1,574    Olson, Hugh & Dorothy                                                     10,000
1,575    Olson, Pat                                                                10,000
1,576    Olson, Robert E. & Carol L.                                               30,000
1,577    Olsten, Ernest & Joyce                                                    10,000
1,578    Olszowy, Kenneth & Lorraine                                               10,000
1,579    O'Neal Jr., Larry E.                                                      15,000
1,580    Operating Engineers Credit Union                                          20,000
1,581    Orillion, Michael                                                         10,000
1,582    Ornernick, E.P.                                                           10,000
1,583    Oros, Joseph                                                              10,000
1,584    Ortega, Bienvenido & Thelma                                               10,000
1,585    Ortiz, Raymond                                                            20,000
1,586    Osborne, Charles E.                                                       10,000
1,587    Osburn, Richard E. & Yuki A.                                               5,000
1,588    Oscislawski, Melitta M.                                                   10,000
1,589    Ostrander, Dean & Carol                                                    5,000
1,590    Ostrander, Lester                                                         10,000
1,591    Ostrom, Richard & Barbara                                                 10,000
1,592    Ostrowski, Robert & Ida                                                    5,000
1,593    Oswald, Leonard & Geraldine                                               10,000
1,594    Ottaway, James R.                                                         20,000
1,595    Ottersberg, William                                                       10,000
1,596    Otto, Donna M.                                                            20,000
1,597    Ouw, Dr. Willem                                                           10,000
1,598    Owen, Marcia                                                              10,000
1,599    Owens, Larry A.                                                           10,000


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                           Victim Restitution List
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                       01CR0796-BTM, and 01CR1415-BTM
                                  (Sorted by Victim)


 Row     Victim's Name                                                    Loss Amount
1,600    Owens, Robert H. (& Adriana M. Mora)                                   10,000
1,601    Pabst, Gordon                                                           5,000
1,602    Pace, David & Anne                                                     40,000
1,603    Pace, James                                                            20,000
1,604    Packer, Rose                                                           20,000
1,605    Padella, Armand & Barbara                                              20,000
1,606    Page, F. Roger                                                         10,000
1,607    Page, Louie T.                                                         10,000
1,608    Page, Marie A.                                                         25,000
1,609    Page, Merleen                                                           5,000
1,610    Page, S. Dale (& Lee Ramsey)                                           10,000
1,611    Pait, Billy R.                                                          5,000
1,612    Pakish, Frank                                                          10,000
1,613    Palmer, Patricia T.                                                     5,000
1,614    Palmer, Sandra                                                          5,000
1,615    Palumbo Jr., Edwin Peter                                                5,000
1,616    Paolini, Daniel                                                        10,000
1,617    Papa, Ralph J.                                                         10,000
1,618    Papagian,
           p g       John                                                       10,000
1,619    Pappas, Michael                                                         5,000
1,620    Parilman, Marvin                                                       10,000
1,621    Paris, Brian                                                           10,000
1,622    Parise, Elizabeth A.                                                   25,000
1,623    Parish Jr., Albert E.                                                  10,000
1,624    Parish, Robert                                                          5,000
1,625    Park, Colin                                                            10,000
1,626    Parker, Donald & Donna                                                 10,000
1,627    Parker, Gail                                                           10,000
1,628    Parker, George                                                         60,000
1,629    Parker, Michael                                                        40,000
1,630    Parker, Mrs. W.E.                                                      15,000
1,631    Parker, William E.                                                     10,000


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                             Victim Restitution List
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                       01CR0796-BTM, and 01CR1415-BTM
                                    (Sorted by Victim)


 Row     Victim's Name                                                       Loss Amount
1,632    Parnes, Leo                                                               10,000
1,633    Partipilo, Joseph & Katherine                                             15,000
1,634    Patberg, William                                                           5,000
1,635    Patel, Bharatkumar & Ramilaben                                            10,000
1,636    Patel, Dolat & Sharda                                                     30,000
1,637    Patel, Girish                                                              5,000
1,638    Patel, Jayant & Hansa                                                    130,000
1,639    Patel, Kanaiyala                                                          10,000
1,640    Patel, Vipulkamar                                                         10,000
1,641    Paulhamus, David & Kelli D.                                               10,000
1,642    Paulsen, Paul E. & Barbara M.                                             30,000
1,643    Paxton, Douglas                                                           10,000
1,644    Pearce, Scott L.                                                          10,000
1,645    Pearl, Larry M.                                                           10,000
1,646    Pearson, P. Michael                                                       10,000
1,647    Pearsons, Karl S.                                                         10,000
1,648    Peasley, Gary K.                                                           5,000
1,649    Pecchia, Patrick                                                          10,000
1,650    Pech, Robert J.                                                           20,000
1,651    Peck, Ronald                                                              10,000
1,652    Pellegrino, Anna                                                          10,000
1,653    Peltier, Robert J.                                                        25,000
1,654    Pelzel - Nolan, Pamela                                                    10,000
1,655    Pence - Sokoloff, Patricia                                                10,000
1,656    Penwell, Gloria L.                                                        10,000
1,657    Peoples, Rodgers D.                                                       10,000
1,658    Pepiton, Joyce                                                            10,000
1,659    Perez, Marjorie M.                                                        10,000
1,660    Perez, Quinn Edward                                                       50,000
1,661    Perilli, Mario Nino & Alessandro                                          20,000
1,662    Perry, Clarence & Lois                                                     5,000
1,663    Perry, Elsie                                                              10,000


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                            Victim Restitution List
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                       01CR0796-BTM, and 01CR1415-BTM
                                   (Sorted by Victim)


 Row     Victim's Name                                                     Loss Amount
1,664    Perry, Jason                                                            10,000
1,665    Perry, Douglas C.                                                       10,000
1,666    Perugino, Danny                                                         10,000
1,667    Pesce, Rocco                                                            10,000
1,668    Pesnell MD, Larkus H. (Trust Account)                                   10,000
1,669    Peters, Mary                                                            10,000
1,670    Peters, Nelson                                                          10,000
1,671    Peterson, Brian & Wanda                                                  5,000
1,672    Peterson, Dale                                                           2,500
1,673    Peterson, Donald R.                                                     10,000
1,674    Peterson, Dorothy M.                                                    40,000
1,675    Peterson, Frank                                                         15,000
1,676    Petrucelli, Barbara                                                     10,000
1,677    Pettirsch, Werner                                                       10,000
1,678    Phelps, Elliott C.                                                      10,000
1,679    Philips, Lawrence D. & Patricia G.                                      20,000
1,680    Phillips, William                                                       15,000
1,681    Phipps, Roger                                                          100,000
1,682    Picha, Lois J.                                                          20,000
1,683    Pichney, Benjamin & Janice                                              20,000
1,684    Pickering, Edward N.                                                    15,000
1,685    Pickering, Jeff C.                                                      55,000
1,686    Piechowski, Duane J.                                                    20,000
1,687    Pierce, Virginia                                                         5,000
1,688    Pierson, Ralph & Donna                                                   5,000
1,689    Pietraszek, James S.                                                    10,000
1,690    Pinkner, Joe C. & Carole B.                                             10,000
1,691    Pipkin, June                                                            10,000
1,692    Pirie, John M.                                                          10,000
1,693    Piskor, John                                                            10,000
1,694    Pitts Jr., Jane C. & C. Richard                                         75,000
1,695    Pitts, Christopher W.                                                   10,000


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                            Victim Restitution List
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                       01CR0796-BTM, and 01CR1415-BTM
                                    (Sorted by Victim)


 Row     Victim's Name                                                      Loss Amount
1,696    Piunno Sr., Richard A.                                                   10,000
1,697    Pizzo, Raymond                                                           10,000
1,698    Planque, Kenneth & Yvonne                                                40,000
1,699    Platt, Jacob R.                                                           5,000
1,700    Pluid, Charles & Bevedy                                                  10,000
1,701    Plumer, Everett                                                          10,000
1,702    Poe, Marcus & Barbara                                                     5,000
1,703    Poels, Lambert J.                                                        50,000
1,704    Polen, Robert                                                               500
1,705    Pollack, Aaron                                                           10,000
1,706    Pond, Caroline S. & Chalmer I.                                           20,000
1,707    Ponder, Mark                                                             20,000
1,708    Pop, Calvin V.                                                           10,000
1,709    Pope, John R. & Barbara A.                                               40,000
1,710    Poppy, C. Frederick                                                       5,000
1,711    Porche, Bennett M.                                                       35,000
1,712    Porche, Bryan                                                            10,000
1,713    Porter, Glenn A.                                                         10,000
1,714    Porter, John                                                             25,000
1,715    Porter, Keith L.                                                         10,000
1,716    Porter, Stanley & Yvonne                                                 25,000
1,717    Porter, Wiliam F.                                                        10,000
1,718    Pou Jr., Enoch                                                            5,000
1,719    Preen, Brian                                                             10,000
1,720    Prenger, Thomas J.                                                        5,000
1,721    Prevost, Dwight & Mary                                                    5,000
1,722    Priemer, Hans H.                                                         10,000
1,723    Prieur, Arthur & Rita                                                    20,000
1,724    Prime, Raymond E. & Nelda L.                                             10,000
1,725    Primeau, Paul A.                                                          5,000
1,726    Proctor, William & Ina June                                              20,000
1,727    Provost, Edward R.                                                       10,000


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 Row     Victim's Name                                                      Loss Amount
1,728    Pscherer, Sibyl                                                           5,000
1,729    Pumphrey, Ray                                                            10,000
1,730    Purcell, Joyce                                                           10,000
1,731    Purdum, Jeannie & Raymond Leslie                                         60,000
1,732    Purdy, Fred W. & Joni L.                                                 25,000
1,733    Purvis, Ronald S.                                                        20,000
1,734    Puryear, Stephen M.                                                      20,000
1,735    Putnam, Philip                                                           10,000
1,736    Pysell, William D.                                                        5,000
1,737    Quads Trust Co.                                                       2,283,793
1,738    Qualls, Marion & Barbara                                                 30,000
1,739    Raabe, Robert D.                                                         10,000
1,740    Raczka, Walter                                                           10,000
1,741    Rader, Michael                                                           25,000
1,742    Rakkhit, Kalpana                                                         10,000
1,743    Raman, Rodaly & Manikarnika                                              10,000
1,744    Ramm, Floyd J.                                                           10,000
1,745    Randall, Louis & Helen                                                   20,000
1,746    Rankin II, Andrew                                                        10,000
1,747    Rankin, Dennis                                                           20,000
1,748    Rarick, William C. & Minda N.                                            30,000
1,749    Rashich, Irena                                                           50,000
1,750    Ratzlaff, Judith K.                                                      45,000
1,751    Ray, J. Paul & Elsaleen                                                  40,000
1,752    Raymond, Heddy & Jack                                                    20,000
1,753    Raymond, Jerrod                                                           5,000
1,754    Read, Victoria S. (Revocable Trust Account)                              10,000
1,755    Reader DDS, James R.                                                     10,000
1,756    Reader, Daniel L.                                                        10,000
1,757    Reader, Gina R.                                                          10,000
1,758    Reader, Mark E.                                                          10,000
1,759    Reary - Marrero, Yvette C.                                                5,000


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 Row     Victim's Name                                                      Loss Amount
1,760    Reburchik, Genevieve                                                     30,000
1,761    Redpath, Edward L.                                                       20,000
1,762    Reed, Evelyn                                                             10,000
1,763    Reed, Paul Michael                                                       10,000
1,764    Reed, Tommy J.                                                           10,000
1,765    Reed, William F.                                                         10,000
1,766    Reed, Cynthia (and Marc Lamphere)                                        15,000
1,767    Reese, Joanne C.                                                         10,000
1,768    Reeves, Virginia A.                                                      10,000
1,769    Reggio, Milka Elba                                                        5,000
1,770    Reimann, Brett M. & Kris M.                                              15,000
1,771    Reinhart, Robert & Audrey                                                10,000
1,772    Reiser, Robert G.                                                        15,000
1,773    Renfroe, Ernest & Janet                                                  20,000
1,774    Reppy, William                                                           75,000
1,775    Ressler, Raymond                                                         10,000
1,776    Rettig, Arnold                                                           10,000
1,777    Rhoden, Roscoe L.                                                        40,000
1,778    Rhodes III, Jesse T.                                                     20,000
1,779    Rhodes, Jimmy & Louise                                                   20,000
1,780    Rice, David & Kathy                                                      20,000
1,781    Rice, Judith                                                             10,000
1,782    Richards (Family Trust Account)                                          15,000
1,783    Richardson, Junior Leonard                                               20,000
1,784    Richardson, Junior Leonard & Ruby                                        20,000
1,785    Richardson, Patrick                                                      20,000
1,786    Richardson, Raymond & Janelle                                            10,000
1,787    Richardson, H.G. (Chairtable Trust Account)                              20,000
1,788    Richie, Priscilla & William                                              10,000
1,789    Rickard, Carl                                                             5,000
1,790    Rickett, Joe & Julia                                                     10,000
1,791    Ridder, Detlef & Karl                                                    10,000


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 Row     Victim's Name                                                    Loss Amount
1,792    Riddle, Anne C.                                                        10,000
1,793    Ridley MD, Robert W.                                                   30,000
1,794    Riekert, Kenneth R.                                                    10,000
1,795    Rierson, Richard & Katherine                                           10,000
1,796    Riggs, Lehman R.                                                       10,000
1,797    Righthouse                                                             10,000
1,798    Riley, Natalie                                                         20,000
1,799    Riser Jr., Neta C.                                                     10,000
1,800    Risser, Eugene                                                         15,000
1,801    Ristau, Ricky & Michelle                                               15,000
1,802    Ritchie, Priscilla Ruth                                                 5,000
1,803    Ritterling, Marvin V. & Tobe                                           35,000
1,804    Robbins, William R.                                                    10,000
1,805    Roberts, Barry T.                                                      30,000
1,806    Robinson, Dan & Rhonda                                                 20,000
1,807    Robinson, Edward Charies                                               10,000
1,808    Robison, Paul F.                                                       10,000
1,809    Robison, William & Bonnie                                              20,000
1,810    Robs, Lloydy                                                           10,000
1,811    Rochlitz, Richard                                                      10,000
1,812    Rocklage, Raymond & M. Patricia                                         5,000
1,813    Rodenizer, Alan                                                         5,000
1,814    Rodriguez, Jorge L.                                                     5,000
1,815    Rodriguez, Yolanda                                                     40,000
1,816    Roe, William D.                                                        10,000
1,817    Roemer Jr., William                                                    15,000
1,818    Roller, Irene                                                          40,000
1,819    Romanowski, Jerry                                                      10,000
1,820    Romey, Dwight L.                                                       20,000
1,821    Ronk DDS, Robert W.                                                    25,000
1,822    Root, William & Phyllis                                                10,000
1,823    Rorick, John L. & Joan M.                                              15,000


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 Row     Victim's Name                                                    Loss Amount
1,824    Rose, John G.                                                          40,000
1,825    Ross, Douglas A.                                                       15,000
1,826    Ross, Duane                                                            29,518
1,827    Ross, Louis & Jean                                                     10,000
1,828    Ross, Richard A.                                                       10,000
1,829    Rossi, Al                                                              55,000
1,830    Rostas, George & Beverly                                               10,000
1,831    Rounds, Cortland & Nancy                                               10,000
1,832    Roush, Donald                                                          10,000
1,833    Rowe, Richard                                                          10,000
1,834    Rowland - Doyle, Rethia                                                25,000
1,835    Rowland, Aflen I.                                                      50,000
1,836    Rowland, Charles                                                       10,000
1,837    Royal, Mary Ann (Living Trust Account)                                 50,000
1,838    Royal, Philomene                                                       25,000
1,839    Royer, Ted & Mary R.                                                   10,000
1,840    Rubin, Jeff                                                            10,000
1,841    Rubino, James & Ebe I.                                                 20,000
1,842    Rucker, Willie                                                         20,000
1,843    Rudd, Clyde & Amy                                                     175,000
1,844    Ruff, Christopher D. & Cydney J.                                        5,000
1,845    Ruggey, (first name unknown)                                           10,000
1,846    Rumbaugh, Rhonda T.                                                    10,000
1,847    Rumble, Donald                                                         10,000
1,848    Runtich, Paul J.                                                       15,000
1,849    Runyan Jr., Warren & Bobbie                                             5,000
1,850    Runyan, Alice E.                                                        5,000
1,851    Rupp, Loralee B.                                                       10,000
1,852    Russell, Richard                                                       10,000
1,853    Russell, Virginia                                                      10,000
1,854    Ryan, John                                                             35,000
1,855    Ryan, Vina                                                             10,000


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 Row     Victim's Name                                                     Loss Amount
1,856    Ryles, Janet Lynn                                                        5,000
1,857    Saba, Phosy L.                                                          10,000
1,858    Sablic, Gregory                                                         20,000
1,859    Sahni, Manmeet                                                          15,000
1,860    Saiz, Daniel & Sandra                                                   10,000
1,861    Saly, (first name unknown)                                              10,000
1,862    Samadi, Javad D.                                                        10,000
1,863    Samitz, Raymond                                                         20,000
1,864    Sampsel, Michael                                                        10,000
1,865    Sampson, Judie A.                                                        5,000
1,866    Samuels, Scott                                                           5,000
1,867    Sanabria, Audrey B. (& Bertram G. Dienelt)                             170,000
1,868    Sanders Esq., Steven                                                    10,000
1,869    Sanders, William & Kelvin                                               10,000
1,870    Sandhu, Harjinder & Gurbax                                              10,000
1,871    Sandoval, Nataline M.                                                    5,000
1,872    Sansone, Michael                                                         5,000
1,873    Sarosi, Arlie P.                                                        25,000
1,874    Sauseng,
                g Otto                                                           15,000
1,875    Savino, Donato & Magda                                                   5,000
1,876    Sayers Jr., Leo T.                                                       5,000
1,877    Scanzaroli, Donald V.                                                   10,000
1,878    Scarberry, Ronald E.                                                    10,000
1,879    Schaefer, Richard J. (and Lynn Lewis)                                   10,000
1,880    Schafer, Wamer & Carol L.                                                5,000
1,881    Scharr, George & Thelma                                                  5,000
1,882    Schestack, Howard N.                                                    20,000
1,883    Scheurer, Ronald W.                                                      5,000
1,884    Schied, Phillip                                                         20,000
1,885    Schierhorn, Roger I. (Trust Account)                                   130,000
1,886    Schiller, Barbara V. & Walter C.                                        10,000
1,887    Schimer, Mark                                                           10,000


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 Row     Victim's Name                                                    Loss Amount
1,888    Schinstock, Gerald                                                      5,000
1,889    Schlener, Beth & Michael K.                                             5,000
1,890    Schloss, Donald                                                        10,000
1,891    Schmidt, Elmer E.                                                       5,000
1,892    Schmidt, Valentine J.                                                  10,000
1,893    Schmitt, Terry                                                         10,000
1,894    Schnad, Kenneth                                                        15,000
1,895    Schneider, Peggy                                                       20,000
1,896    Schoemann, Rodney R.                                                   10,000
1,897    Scholldorf, Alfred H. & Joanne                                         10,000
1,898    Schramm, Harvey A.                                                     25,000
1,899    Schrantz, Neil L.                                                      10,000
1,900    Schreiber, Otto                                                        10,000
1,901    Schrembeck, David & Debra                                              10,000
1,902    Schroeder, Allen                                                       10,000
1,903    Schubart, Helen                                                        60,000
1,904    Schue, Norman E.                                                       25,000
1,905    Schulte, Delmar L.                                                     10,000
1,906    Schulz, Daniel H.                                                      25,000
1,907    Schulz, Elton                                                          10,000
1,908    Schuster, Frank                                                        15,000
1,909    Schuster, Glenn W.                                                     20,000
1,910    Schwartz, John                                                         10,000
1,911    Schwartz, Joseph S.                                                    10,000
1,912    Schyendemann, Lyle                                                     20,000
1,913    Scott, Donald W.                                                       30,000
1,914    Scott, Gerald D. & Donna M. (Trust Account)                            10,000
1,915    Scott, John G.                                                         10,000
1,916    Scovell, Joseph H.                                                     10,000
1,917    Sears, Eleanor M.                                                      10,000
1,918    Sears, Phil                                                            10,000
1,919    Sechler, Dave                                                          10,000


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 Row     Victim's Name                                                      Loss Amount
1,920    Sedgwick, Virginia L.                                                    10,000
1,921    Seely, Steven                                                            60,000
1,922    Sehnert, Walter                                                          10,000
1,923    Seidel, Monte                                                            10,000
1,924    Self, Deen                                                               10,000
1,925    Shaffer, James & Janet                                                   99,500
1,926    Shakir, Shabbir A.                                                       10,000
1,927    Shannon, Edward                                                          10,000
1,928    Sharkey, Hilda                                                           10,000
1,929    Sharp, Fred G.                                                           70,000
1,930    Sharp, John M.                                                           30,000
1,931    Sharp, Joseph Wilson & Marlena                                           10,000
1,932    Shartle, Thomas                                                          10,000
1,933    Shaw, Bobby                                                              15,000
1,934    Sheats, Helen Taylor                                                     10,000
1,935    Shelton, Jimmie & Janice                                                 10,000
1,936    Shepherd, Dorothy A. & Wilmer S.                                         50,000
1,937    Sheppell, Catherine E. & William R.                                      10,000
1,938    Sherman, William C. ((Family
                                    y Trust))                                     25,000
1,939    Sherron III, William                                                     15,000
1,940    Sherwood, William                                                        20,000
1,941    Shirk, Ashley & Nancy Z.                                                 10,000
1,942    Shockley, Clyde & Doris                                                  10,000
1,943    Shoemaker - Owens, Marcus                                                10,000
1,944    Short, Jack & Norma                                                      20,000
1,945    Short, Ronald                                                             5,000
1,946    Shoup, Duwayne & Patricia                                                40,000
1,947    Shoup, Duwayne & Patricia (Shoups Construction, Inc.)                    20,000
1,948    Shoup, Nelda J. (and Zelma V. Etheredge)                                 25,000
1,949    Shoup, Robert F. & Helen                                                 10,000
1,950    Shull, Carl B.                                                           50,000
1,951    Shyu, Chaur - Ming                                                       25,000


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 Row     Victim's Name                                                      Loss Amount
1,952    Sides, Dennie L. & Catherine J.                                          20,000
1,953    Sieb Jr., Walter H                                                       10,000
1,954    Sier, Timothy D. & Maria L.                                              20,000
1,955    Sigsbey III, Walter                                                      20,000
1,956    Sigur, Jon M.                                                            15,000
1,957    Silveira, John & Edna                                                    25,000
1,958    Silveira, Shirley                                                        15,000
1,959    Silverman, Stephen J.                                                    10,000
1,960    Silvia, Tonya L.                                                         10,000
1,961    Simmonds, Samuel                                                         70,000
1,962    Simmons, Howard R.                                                       25,000
1,963    Simmons, William & Barbara                                               10,000
1,964    Simon, Dominador J.                                                      20,000
1,965    Simon, Dominador J.& Rosalinda                                           10,000
1,966    Simonpietri, Pierre                                                      19,985
1,967    Sims, Dorothy W.                                                         10,000
1,968    Sims, Dr. Marvin H.                                                      20,000
1,969    Sims, Felipe                                                             20,000
1,970    Sims, Linda A. ((& Phyllis
                               y E. Vollstedt))                                   10,000
1,971    Sims, Willian H. (& Irma G. Beck)                                        30,000
1,972    Sinel, Kathleen M.                                                       10,000
1,973    Singer, Bernard & Cathleen J.                                            20,000
1,974    Sinn, Hazel I. (and Karen Myers)                                         55,000
1,975    Sipes, Janet H.                                                          10,000
1,976    Sitzberger, Scott Harry & Denise                                         10,000
1,977    Skurka, Donald C. & Theresa M.                                           29,990
1,978    Slade, Richard                                                            5,000
1,979    Slane, Juanita A.                                                        85,000
1,980    Slater, Fred S.                                                          10,000
1,981    Smart, Douglas & Koni                                                    20,000
1,982    Smart, Michael                                                           10,000
1,983    Smialek, James L. & Constance                                            10,000


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 Row     Victim's Name                                                    Loss Amount
1,984    Smik, Stephen P.                                                       10,000
1,985    Smith, Alan R.                                                          5,000
1,986    Smith, Albert                                                          10,000
1,987    Smith, Clifford G. & Judith M.                                         40,000
1,988    Smith, Dean                                                            20,000
1,989    Smith, Donald & Beatrice                                               10,000
1,990    Smith, Elizabeth                                                       20,000
1,991    Smith, Franklin D.                                                     10,000
1,992    Smith, Gary & Patsy                                                    40,000
1,993    Smith, John E.                                                         10,000
1,994    Smith, Marietta                                                        10,000
1,995    Smith, Michael                                                         10,000
1,996    Smith, Montford                                                        10,000
1,997    Smith, Pauline & Edgar L.                                              40,000
1,998    Smith, Sheila S.                                                       60,000
1,999    Smith, Stephen P.                                                      20,000
2,000    Smith, Wayne J.                                                        10,000
2,001    Smith, William C.                                                      10,000
2,002    Smits, Peter & Rose I.                                                 15,000
2,003    Smolarski, Michael (& Anna Davis)                                      30,000
2,004    Snyder Jr., Paul E.                                                    10,000
2,005    Snyder, (first name unknown)                                           10,000
2,006    Soape, Doris L                                                         40,000
2,007    Sood, Radhika (c/o Abha Sood, Custodian)                               10,000
2,008    Soraparu, Steven J.                                                    20,000
2,009    Sorensen, Ronald                                                       15,000
2,010    Sorenson, (first name unknown)                                         10,000
2,011    Sorenson, Joanne Barbara                                               10,000
2,012    Sourmany, Maurice                                                      10,000
2,013    Southergill, Christine M.                                               5,000
2,014    Southern Trading Partners                                              15,000
2,015    Spangenberg, Marion H.                                                 10,000


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 Row     Victim's Name                                                     Loss Amount
2,016    Spangenberg, Theodore                                                   10,000
2,017    Sparks, Gary L.                                                         10,000
2,018    Sparks, Richard & Dorothy                                               20,000
2,019    Speaks, Mary Katherine                                                  10,000
2,020    Spearman, Lucille                                                       10,000
2,021    Spencer, Alice M.                                                       10,000
2,022    Spencer, Anita                                                          10,000
2,023    Spencer, J. Marilyn                                                     25,000
2,024    Spitze MD, Terril C.                                                    10,000
2,025    Spradley, Lloyd Wayland (& Fred Spradley)                               10,000
2,026    Spradlin, William                                                        5,000
2,027    Sprague, Gordon L.                                                      20,000
2,028    Sprague, Gordon L. (Pension Trust Account)                              10,000
2,029    Spraque, Robert                                                         10,000
2,030    Sproule, William P.                                                      5,000
2,031    Staberg, Wallace & Ilene                                                40,000
2,032    Stadlam, Keith                                                          15,000
2,033    Stadt, Kenneth                                                          20,000
2,034    Staley,
              y Gladysy J.                                                        5,000
2,035    Stalick, Jean                                                           30,000
2,036    Stamey, Harold                                                          25,000
2,037    Stanford, Lois E.                                                       60,000
2,038    Stanley, John H.                                                        75,000
2,039    Starks , Madine H. & Ronal (& Carla S. Pugh)                            10,000
2,040    Stay, Gregory M.                                                        20,000
2,041    Steele, Lester L. & Carolyn R.                                          15,000
2,042    Steele, Rodney                                                          10,000
2,043    Stefanski, Walter                                                      105,000
2,044    Steimel, Edward J.                                                      10,000
2,045    Stenberg, Dixie                                                         10,000
2,046    Stenger, Charles                                                        10,000
2,047    Stenseth, Lynn J.                                                        5,000


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 Row     Victim's Name                                                      Loss Amount
2,048    Stephens, Donald                                                         30,000
2,049    Sterling (Individual Retirement Account)                                629,640
2,050    Sterling Trust Company                                                   30,000
2,051    Stern, (first name unknown)                                               5,000
2,052    Stevens General Contractors (c/o James A. Stevens)                       10,000
2,053    Stevens, Deborah & James                                                 10,000
2,054    Stevens, Linda S. & Garry C.                                             20,000
2,055    Stevens, Wayne                                                           20,000
2,056    Stevenson, Gertrude E.                                                   30,000
2,057    Stewart, A. Darle                                                        25,000
2,058    Stewart, Harrie                                                          10,000
2,059    Stewart, James & Darle                                                   60,000
2,060    Stewart, James F. & Mary                                                 15,000
2,061    Stewart, Kathy A.                                                        10,000
2,062    Stewart, Lyle G. & Wanda L.                                              25,000
2,063    Stewart, Milton C.                                                       50,000
2,064    Stickney, Betsy                                                          10,000
2,065    Stidham, Forrest & Jean                                                  10,000
2,066    Stiles, Raymond
                    y      V.                                                     10,000
2,067    Stillman, Daniel                                                         30,000
2,068    Stoabs, Virgil L.                                                        10,000
2,069    Stoddard, William                                                         5,000
2,070    Stoddard, William F. (& Linda Sindle),                                    5,000
2,071    Stone, W. Andrew (& Wilma Magallon)                                      10,000
2,072    Storey, Dwight W.                                                        15,275
2,073    Stout, Dale J.                                                            5,000
2,074    Stout, Rick                                                               5,000
2,075    Stover, Jay                                                              10,000
2,076    Strawn Jr., Oliver P.                                                    10,000
2,077    Strickland, Thad                                                         10,000
2,078    Strong, Joe                                                              15,000
2,079    Strong, Thomas F.                                                        10,000


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                       01CR0796-BTM, and 01CR1415-BTM
                                    (Sorted by Victim)


 Row     Victim's Name                                                      Loss Amount
2,080    Struikman, Jon                                                           25,000
2,081    Stuart, Jean                                                             10,000
2,082    Studer, Robert                                                           10,000
2,083    Sturges, Duane W.                                                        10,000
2,084    Subialdea, Rafael Cantu & Orfa Linda                                     20,000
2,085    Sue, Frank & Lynn Swenson                                                10,000
2,086    Sugawara, Fumiko                                                         20,000
2,087    Suit, Donald James & Catherine                                           50,000
2,088    Sullivan, Col. Philip L.                                                 20,000
2,089    Sullivan, Daniel                                                         20,000
2,090    Suriff, Harold                                                           10,000
2,091    Sussman, Daniel H.                                                       10,000
2,092    Sutter Jr., George Edward                                                 5,000
2,093    Sutton, John D.                                                          10,000
2,094    Swain, Robert                                                            15,000
2,095    Swann, Dorothy                                                           30,000
2,096    Swatching, Alexander                                                     10,000
2,097    Swatek, Robert W.                                                         5,000
2,098    Swensrud, Carl L.                                                        30,000
2,099    Swetnam, Jeffrey                                                         10,000
2,100    Swinford, Larry                                                         350,000
2,101    Swirsky, Hyman                                                           15,000
2,102    Swope, Thomas & June                                                     20,000
2,103    Sydow Jr., Wiliam E. & Elizabeth A.                                      10,000
2,104    Sylvester, David                                                         10,000
2,105    Synergetics International                                                10,000
2,106    Syzdek, Joseph M.                                                        50,000
2,107    Szilak, Albert J.                                                        10,000
2,108    Tablada, Lesmes                                                           7,500
2,109    Taetzsch, George & Virginia                                              10,000
2,110    Takach, Patricia                                                          5,000
2,111    Talcott Jr., John G.                                                     75,000


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                       01CR0796-BTM, and 01CR1415-BTM
                                   (Sorted by Victim)


 Row     Victim's Name                                                     Loss Amount
2,112    Talcott III, John                                                       10,000
2,113    Talcott, John & Dorothea                                                10,000
2,114    Talcott, John & Rosalin                                                235,000
2,115    Talcott, Rosalin (Trust Account)                                        25,000
2,116    Tassey, James Lloyd                                                     10,000
2,117    Tate, Darlene                                                           10,000
2,118    Taylor, Brian & Todd                                                    15,000
2,119    Taylor, Christopher                                                     30,000
2,120    Taylor, Clara                                                           10,000
2,121    Taylor, G. Kelley                                                       20,000
2,122    Tegtmeier, Harold & Lucille                                             15,000
2,123    Tennant, Don                                                            20,000
2,124    Tennant, Larry                                                          20,000
2,125    Tesari, Ilse E.                                                         10,000
2,126    Testa, Sam H.                                                           10,000
2,127    Teter, Carolyn J.                                                       50,000
2,128    Tews, Karl Richard                                                      25,000
2,129    Textbook Company                                                        10,000
2,130    Theis, Peter                                                            20,000
2,131    Theobald, Harold A.                                                     30,000
2,132    Thiele, Alta Irene                                                      10,000
2,133    Thierbach, Alexander Z. (Living Trust Account)                          60,000
2,134    Tholand, Jens U. & Mary P.                                              45,000
2,135    Thomas, Gail Lundgren                                                   10,000
2,136    Thomas, Robert Glynn                                                    10,000
2,137    Thomas, Rula J.                                                         25,000
2,138    Thompson Jr., Carl E. & Connie D.                                       10,000
2,139    Thompson, Laurence                                                      45,000
2,140    Thompson, Rex & Betty                                                   10,000
2,141    Thomsen, Irving & Loretta                                               10,000
2,142    Thomson, John A.                                                        10,000
2,143    Threatt, Clinton                                                         5,000


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                       01CR0796-BTM, and 01CR1415-BTM
                                   (Sorted by Victim)


 Row     Victim's Name                                                     Loss Amount
2,144    Threet, Gary L.                                                         25,000
2,145    Thurmon, Buford & Fern                                                  10,000
2,146    Thurston, J. Warren                                                     10,000
2,147    Tichenor, Bruce                                                         15,000
2,148    TIGC                                                                    20,000
2,149    Tilson, Jerry R                                                         15,000
2,150    Timbercrest                                                              4,000
2,151    Titschinger, Richard & Janell                                            7,500
2,152    Tittone, Joseph D.                                                      10,000
2,153    Tittsworth, Fanny & Ron                                                 40,000
2,154    Tjoelker, Glenda & Reg I.                                               30,000
2,155    Tobey Sr., Orville                                                      20,000
2,156    Todd, Linda                                                             15,000
2,157    Toler, Grady Joe                                                        10,000
2,158    Tollefson, David C.                                                     10,000
2,159    Tolles, Terry H.                                                        10,000
2,160    Tooley, Stephen                                                         10,000
2,161    Torres, Carlos                                                          10,000
2,162    Townsend, Graven                                                        10,000
2,163    Townsend, Miriam & Harvey                                               10,000
2,164    Townsley, Suzanne                                                       35,000
2,165    Tran, Hung                                                               5,000
2,166    Traphagan, Joseph E. (Trust Account)                                     5,000
2,167    Traylor, Donald E.                                                      20,000
2,168    Triche, Howard                                                          20,000
2,169    Trifelos, James N.                                                      25,000
2,170    Troop, Douglas                                                          10,000
2,171    Trotman, Virgil & Dorothy                                               10,000
2,172    Trowbridge III, Dwight Howe                                             20,000
2,173    Trulson, Ruth E.                                                       100,000
2,174    Truman, Jack                                                            70,000
2,175    Truss Engineering                                                       15,000


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                       01CR0796-BTM, and 01CR1415-BTM
                                  (Sorted by Victim)


 Row     Victim's Name                                                    Loss Amount
2,176    Tryon, Ted R. & Lavonne E.                                             20,000
2,177    Tucker, Constance                                                      10,000
2,178    Tucker, Don and Emyre                                                  40,000
2,179    Tucker, Roger G.                                                       10,000
2,180    Turner MD, Carl B. & Patricia                                          10,000
2,181    Turner, Geraldine                                                      20,000
2,182    Turner, Junior Lee                                                     10,000
2,183    Turner, Margaret C.                                                    10,000
2,184    Turner, Marian P.                                                      90,000
2,185    Turner, Muriel W.                                                      10,000
2,186    Turner, Ted                                                            20,000
2,187    Turnquist, E. Joan                                                     10,000
2,188    Tushman, David A.                                                      10,000
2,189    Tweedie, Walter E. & Dorothy G.                                        20,000
2,190    Twigg, Edward R. & Thad E. (Estate Account)                            10,000
2,191    Twigg, Thad & Patty                                                    30,000
2,192    Tyler, James                                                           40,000
2,193    Tyler, Josephine                                                      130,000
2,194    Underland, John & Judi                                                 10,000
2,195    Unidentified Funds                                                    227,838
2,196    Urso, Richard J.                                                       35,000
2,197    Utrata, Paul                                                           10,000
2,198    Vale, Stanley                                                          10,000
2,199    Valentine, Marian                                                      10,000
2,200    Van Assendelft, Anca                                                   10,000
2,201    Van Diest, John W.                                                      5,000
2,202    Van Koevering, Barry D.                                                20,000
2,203    Van Koevering, George                                                  44,900
2,204    Vandbelt, Elaine                                                       10,000
2,205    Vandenberg, Beatrice R.                                                10,000
2,206    Vanderberg, John & Joann                                               15,000
2,207    Vandermars, Gunnar Tim                                                 10,000


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                       01CR0796-BTM, and 01CR1415-BTM
                                   (Sorted by Victim)


 Row     Victim's Name                                                     Loss Amount
2,208    Vandervlugt, Gerold V.                                                  10,000
2,209    Vanhoy, Lee                                                             15,000
2,210    VanTongeren, Maynard                                                    10,000
2,211    Varcalli - Woodrow, Patricia Ann                                        10,000
2,212    Varley, Michael & Ruth                                                  10,000
2,213    Vasil, John                                                             20,000
2,214    Vaughn, Nancy & Gayle                                                   20,000
2,215    Vavro, Lawrence M.                                                      20,000
2,216    Veach, Farland & Dorothy                                                20,000
2,217    Veach, Ronald                                                           20,000
2,218    Veale (& Shirley West), Robert H.                                       10,000
2,219    Veale, Robert                                                           10,000
2,220    Veis, Gerry & Pamela                                                    10,000
2,221    Velez, Richard B. & Clare V.                                            10,000
2,222    Verma, Raj                                                              25,000
2,223    Verna                                                                    5,000
2,224    Vetrano, Vivian V.                                                      35,000
2,225    Vetrovsky, Dolores                                                      20,000
2,226    Vik, Trygve
                 yg & Cleo Y.                                                   125,000
2,227    Vincent, John R. & Betty B.                                             10,000
2,228    Virden, Paula R                                                         30,000
2,229    Virgin Valley Credit Union                                             855,000
2,230    Voeller, Rolland                                                        10,000
2,231    Vogelsang, Stephen & Doreen                                             10,000
2,232    Von Duerring - Schneider, Ann Dreitlein                                 25,000
2,233    Vonbokel, Mary Jane                                                     50,000
2,234    Voncanon, Charles Hunter                                                20,000
2,235    Voth, Randall Edwin                                                      5,000
2,236    Vukoje, Krsto D. (c/o Delan Sub Corporation)                            20,000
2,237    Wachtel, Beverly                                                         5,000
2,238    Wagner, Frank J.                                                        10,000
2,239    Wagner, Wayne E.                                                        10,000


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                       01CR0796-BTM, and 01CR1415-BTM
                                   (Sorted by Victim)


 Row     Victim's Name                                                      Loss Amount
2,240    Waldow, W.M.                                                             20,000
2,241    Walker, Gladstone                                                        10,000
2,242    Walker, James                                                             5,000
2,243    Walker, Janeale                                                          10,000
2,244    Walker, Sylvester R.                                                      5,000
2,245    Wall, Joseph & Adalee                                                    10,000
2,246    Walling, Sarah Jones                                                     10,000
2,247    Wallis, William M.                                                       10,000
2,248    Walsh, Constance & Richard                                              615,000
2,249    Walsh, Robert C.                                                          5,000
2,250    Walter, Charles W. & Patty L.                                            10,000
2,251    Walz, Louise E.                                                          30,000
2,252    Wampler, Susan                                                            5,000
2,253    Wang, Richard & Julia                                                    10,000
2,254    Ward, Geoffrey                                                           10,000
2,255    Warfield, Robin                                                          10,000
2,256    Warren, Sylvia M.                                                        15,000
2,257    Warrington, John A.                                                      20,000
2,258    Warshauer, Lloyd
                        y H. & Esther E.                                          50,000
2,259    Warwick, Audrey B.                                                       20,000
2,260    Wasek, Sharon A.                                                         10,000
2,261    Waters, George E.                                                        35,000
2,262    Watkins, Mary P.                                                         20,000
2,263    Watson III, Richard                                                      10,000
2,264    Watson, Arline M.                                                        10,000
2,265    Watts, C. Lee & Kathryn                                                  25,000
2,266    Watts, Orra R.                                                           10,000
2,267    Waugh, Carl J. & Madeline C.                                             25,000
2,268    Way, Donald & Anita                                                      10,000
2,269    Wearing, Michael                                                         40,000
2,270    Weaver, Jerold                                                           20,000
2,271    Weaver, Philip                                                            5,000


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                       01CR0796-BTM, and 01CR1415-BTM
                                    (Sorted by Victim)


 Row     Victim's Name                                                      Loss Amount
2,272    Webb, James                                                               5,000
2,273    Weber, Otto                                                              35,000
2,274    Weckler, Nora                                                            20,000
2,275    Weeks, Carol                                                             20,000
2,276    Weikert, Starr L.T. & Dylas M.                                           20,000
2,277    Weiss, Bernice E.                                                        10,000
2,278    Weiss, Dr. Allen                                                         10,000
2,279    Wells, John                                                              10,000
2,280    Wells, Wayne H.                                                          50,000
2,281    Welton, Frank                                                            10,000
2,282    Wenzel, Charles P.                                                       10,000
2,283    West, Beverly A.                                                         30,000
2,284    West, Todd                                                               10,000
2,285    West, Tris                                                               10,000
2,286    Westerman, Jean V.                                                      400,000
2,287    Westhues, Arthur                                                         10,000
2,288    Westmoreland, Joyce N.                                                   15,000
2,289    Whalen, James                                                            10,000
2,290    Whitacre, Fred                                                           10,000
2,291    Whitaker, F. Gordon (& Shirley Whitaker-Shields)                         10,000
2,292    Whitcomb, Otis & Mary                                                    15,000
2,293    White, Clare S.                                                          10,000
2,294    White, Larry D.                                                           5,000
2,295    White, Steven L.                                                         30,000
2,296    Whitehurst, Margaret Elise                                               10,000
2,297    Whydra, Ann D.                                                           10,000
2,298    Whyte, Alvin C.                                                          10,000
2,299    Wibbenmeyer, Roger                                                        5,000
2,300    Wicker, Felix                                                            30,000
2,301    Wicker, Philip                                                           15,000
2,302    Wieland, Mark                                                            15,000
2,303    Wiggins, Jimmy R.                                                        10,000


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                       01CR0796-BTM, and 01CR1415-BTM
                                  (Sorted by Victim)


 Row     Victim's Name                                                     Loss Amount
2,304    Wilcox, Terry & Eilleen                                                 50,000
2,305    Wildman, Norman D. & Anita                                              25,000
2,306    Wiley, LeRoy                                                            10,000
2,307    Wiley, Jim S.                                                           10,000
2,308    Wilhelm, Alverta                                                        20,000
2,309    Wilke Jr., William                                                      10,000
2,310    Wilkins, Billy & Linda                                                  10,000
2,311    Wilkinson, John & Marguerite                                            10,000
2,312    Willemsen, Richard                                                      75,000
2,313    Willey, Jim                                                             10,000
2,314    William Wehrle Insurance Group                                          10,000
2,315    Williams Jr., Tell                                                      10,000
2,316    Williams, Donald                                                        10,000
2,317    Williams, John C.                                                       10,000
2,318    Williams, Larry                                                         20,000
2,319    Williams, Roy & Kathi                                                   10,000
2,320    Williams, Terry                                                         10,000
2,321    Williams, Yvonne Alcorn                                                 10,000
2,322    Williford, Melvin D.                                                    30,000
2,323    Willingham, Bill                                                        10,000
2,324    Willis, Owens                                                            5,000
2,325    Wills III, John H.                                                      10,000
2,326    Wilson, Warren Douglas                                                  20,000
2,327    Winger, C.harles Richard                                                10,000
2,328    Wingerter, Allen E. & Evelyn                                             5,000
2,329    Wininger, Alan J. & Sarah                                               20,000
2,330    Winkelman, Eugene                                                        5,000
2,331    Winowitz, Scott                                                         10,000
2,332    Winslow MD, Grover Cleveland                                            20,000
2,333    Winston, Kenneth & Tamra                                                20,000
2,334    Winter-Simonton, Leslie                                                 20,000
2,335    Wirick, Wanda                                                           10,000


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                       01CR0796-BTM, and 01CR1415-BTM
                                    (Sorted by Victim)


 Row     Victim's Name                                                       Loss Amount
2,336    Wishnet Inc.                                                              10,000
2,337    Witcher, Dwight & Louise                                                  10,000
2,338    Witt, Robert F.                                                           10,000
2,339    Wittenstein MD, George J.                                                  5,000
2,340    Wittig, Don E. & Joyce E.                                                 10,000
2,341    Wittig, Gregory & Karen                                                   10,000
2,342    Wolf, Andrew W. & Susan G.                                                10,000
2,343    Wolf, Lynn                                                                40,000
2,344    Wolfe, Thomas                                                             10,000
2,345    Wong, Nelson Guy                                                          45,000
2,346    Wonnacott, Curtis                                                         10,000
2,347    Wood, L. Blake                                                            10,000
2,348    Wood, Paul                                                                15,000
2,349    Wood, Wilbur                                                              10,000
2,350    Woodbury, Richard                                                         10,000
2,351    Wooden, Shawn                                                             10,000
2,352    Woodman, Linda Kaye                                                       10,000
2,353    Woodrow, Barry                                                            20,000
2,354    Woods - Maddox, Orma                                                      10,000
2,355    Woolsey, Gerald                                                           15,000
2,356    Workman, Dorothy S.                                                       55,000
2,357    Wortham, Carol                                                            10,000
2,358    Wortham, Ralph                                                            10,000
2,359    Wray, Joe & Diane                                                         10,000
2,360    Wright, James                                                              5,000
2,361    Wright, Robert B.                                                         10,000
2,362    Wroblewski, Allison                                                        5,000
2,363    Wunderlich, Gerald F. & Patricia                                           5,000
2,364    Wyatt, Jeffrey                                                            10,000
2,365    Wylie Sr., Douglas & Peggy                                                10,000
2,366    Yack MD, Edward S.                                                        10,000
2,367    Yan Jing Supply Inc.                                                      20,000


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                       01CR0796-BTM, and 01CR1415-BTM
                                   (Sorted by Victim)


 Row     Victim's Name                                                     Loss Amount
2,368    Yancey, Charles Lynn & Marie                                             5,000
2,369    Yannello, Frank                                                         15,000
2,370    Yates, Albert L.                                                        10,000
2,371    Yates, Gaylord & Patricia                                               10,000
2,372    Yeakey, Carl                                                            20,000
2,373    Yest, David                                                             20,000
2,374    Yntema, Daniel                                                          10,000
2,375    Yoder, Mabel D.                                                          5,000
2,376    Young, Bruce O.                                                         15,000
2,377    Young, Danny                                                            20,000
2,378    Young, Fern D.                                                          50,000
2,379    Young, Richard & Teresa                                                 10,000
2,380    Young, Ruth Ann                                                          5,000
2,381    Young, Shirley                                                          10,000
2,382    Young, Terry                                                             9,500
2,383    Yuu, Jean                                                               10,000
2,384    Yuu, Norman                                                             15,000
2,385    Zaboretzky, Frank                                                       11,500
2,386    Zack, Ronald W.                                                         10,000
2,387    Zalar, David & Amy                                                      15,000
2,388    Zarf, Patricia                                                          35,000
2,389    Zaslavsky, Alexander                                                    10,000
2,390    Zawadzki, (first name unknown)                                          10,000
2,391    Zbiec, Bozena & Piotr                                                   15,000
2,392    Ziebol, Michael                                                         10,000
2,393    Ziegenfuss, Opal B.                                                     10,000
2,394    Ziegler, William                                                        60,000
2,395    Zier, Carol                                                              5,000
2,396    Zimmer, Charles E.                                                       5,000
2,397    Zimmerman, Harvey & Erma                                                25,000
2,398    Zimmerman, Joel                                                         10,000
2,399    Zimmerman, Luke                                                         55,000


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 Row     Victim's Name                                                 Loss Amount
2,400    Zinsmaster, Arthur                                                   5,000
2,401    Zitek, Sylvia & Frank                                               35,000
2,402    Zommer, Francis H.                                                  15,000
2,403    Zonker, Lawrence & Elizabeth                                        30,000
2,404    Zweiback, Kenneth & Joan S.                                         20,000
2,405       Total                                                    $  49,050,378




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